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Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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regarding Joint Pretrial memorandum dates (.1);
strategize regarding value of OCB defense based
on expert witness disclosures (.3); strategize
about insolvency admissions (.3); consider new
deadlines and settlement strategy (.2); plan
for call and call to Atty. Aframe regarding
litigation issues and continuance (.2); review
outstanding discovery requests and email Atty.
Aframe about status of same (.4).

Draft Motion to Extend Deadline to file Joint
Pretrial Memorandum (.5); review and revise
same (.2); telephone calls (.2) and email (.1)
to Atty. Aframe regarding. same; re-configure
Motion to Extend Joint Pretrial memorandum
deadline to reflect non-assent,, based on
inability to reach Atty. Aframe (.2); finalize
Motion to Extend for filing and attend to
filing same (.2); confer with Trustee regarding
next steps toward settlement (.1).

Review Court’s Order extending deadline to file
Joint Pretrial Memorandum and track new
deadline (.1); telephone call with Atty. Aframe
regarding extension of Joint Pretrial
Memorandum, discovery, and possibility of
settlement (.2); follow up regarding same (.1).
Review case materials to develop settlement
proposal.

Continue reviewing discovery response and
related case materials to develop parameters of
possible settlement (.4); research new value
and ordinary course of business case law to
develop proposal and ascertain difference
between Trustee’s and Defendant’s analysis
(.6).

Review multiple emails from Atty. Aframe
attaching invoices.

Review next steps to develop negotiations.
Communications with Attorney Aframe regarding
status of settlement; strategy regarding
settlement negotiations and next steps; draft
correspondence to Attorney Aframe regarding the
defendant's ordinary course defense.

Emails regarding status of proposed settlement
(.2); strategize regarding settlement response

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

(.1).
04/11/14 jemurphy 0011 Communication with Attorney Aframe regarding 0.10 25.50
cases supporting his irregular "ordinary course
of dealings" defense.
04/11/14 goneil 0011 Review emails with Atty. Aframe regarding 0.50 127.50
ordinary course defense (.1); review issues
regarding ordinary course defense in order to
develop settlement proposal/recommendation
(.4).
04/11/14 kfoley 0011 Review of Quickflights payment charts and 0.20 44.00
attention to next steps regarding Quickflights’
ordinary course of business defense.
04/15/14 goneil 0011 Assess ordinary course defense. 0.10 25.50
04/15/14 kfoley 0011 Case law research regarding elements of 0.80 176.00
ordinary course of business defense pursuant
to Bankruptcy Section 547(c) (2).

04/16/14 goneil 0011 Review timeline and assess settlement. 0.10 25.50

04/16/14 goneil 0011 Review ordinary course case law in order to 0.40 102.00
assess settlement ability.

04/16/14 kfoley 0011 Review of case law research regarding ordinary 0.90 198.00

course of business defense pursuant to
Bankruptcy Code Section 547(c) (.7); evaluate
merits of Quickflights’ ordinary course of
business defense pursuant to Bankruptcy Code
Section 547(c) (.2).
04/16/14 kfoley 0011 Further review of case law research, evaluate 0.60 132.00
: Quickflights’ ordinary course of business
defense pursuant to Bankruptcy Code Section
547(c) and strategize regarding next steps
related to settlement negotiations with
Quickflights.
04/17/14 goneil 0011 Review discovery, fully assess and calculate 3.80 969.00
Defendant’s ordinary course of business defense
(3.7); confer with Trustee regarding Joint
Pre-trial Memorandum status (.1).

04/18/14 JHB 0011 Review defendant emails regarding defenses, 0.40 156.00
devise and send response regarding same.
04/18/14 goneil 0011 Review email from Atty. Aframe regarding 0.30 76.50

ordinary course defense (.1); telephone call
with Atty. Aframe regarding same (.2).

04/21/14 goneil 0011 Draft Second Assented-To Motion to Extend 0.30 76.50
Deadline to File Joint Pretrial Memorandum.
04/22/14 JHB 0011 Review open litigation issues, resolution 0.20 78.00

strategies and emails.
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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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Strategy regarding ordinary course defense in
light of facts.

Strategize regarding settlement (.1); review
and revise Motion to Extend Pretrial Memorandum
deadline (.2); email Atty. Aframe regarding
same (.1); emails with Atty. Aframe and revise
Motion consistent with Atty. Aframe’s comments
(.3); additional edits and emails with Atty.
Aframe to finalize Motion to Extend (.2);
attention to finalizing and efiling Motion to
Continue (.2).

Ongoing strategy regarding evaluation of
settlement offer and litigation alternative.
Strategize regarding settlement steps.

Review and assess history of emails between
Quickflight and Direct Air, including to create
a summary of each (1.2); continue assessing
discovery and case issues, including ordinary
course and new value defenses, in context of
continuing to draft, revise, and finalize
lengthy and detailed settlement proposal (2.3);
draft memorandum to Trustee with summary of
issues to consider while assessing settlement
proposal (.4). /
Review, revise settlement proposal and review
underlying defenses, defense and transfer
materials.

Analyze settlement position and analysis of
preference exposure from the Trustee; review
status of the litigation and timing of next
steps if settlement unsuccessful.

Follow up regarding settlement proposal.
Strategize regarding litigation aspects of
settlement proposal (.1); emails with Trustee

about proposal, analysis, and timing of matter

(.1).

Continued negotiations, defense assessment.
Continued attention to open settlement,
payment, extension issues, strategies if no
resolution, and review related emails,
discovery from opposing counsel.

Finalize settlement proposal based on input
from Trustee and send same to Atty. Aframe.
Further review of open issues, settlement

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Joseph H. Baldiga, Chapter 7 Trustee

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negotiations, assess defenses and devise
strategies to resolve; review related discovery
issues, opposing counsel emails.

Review email from Atty. Aframe regarding
settlement status.

Telephone call with Atty. Aframe regarding
settlement and Joint Pretrial Memorandum.
Review open discovery, settlement issues and
strategies.

Provide status update to Trustee including to
consider further extension of deadline to file
Joint Pretrial Memorandum.

Assess pretrial issues, settlement prospects,
related pretrial, extension issues.

Telephone call to Atty. Aframe (.1; prepare
Third Assented-To Motion to Extend (.2); revise
and finalize Extension Motion (.2) and email
same to Atty. Aframe for his consideration
(.2); execute and attend to e-filing Motion
(.1).

Continued attention to open discovery,
settlement issues, strategies and related
emails,

Review and track Court’s Order extending
deadline to file Joint Pretrial Memorandum
(.1); email Atty. Aframe regarding status of
settlement proposal (.1).

Review status of settlement .and next steps in
adversary proceeding against Quickflight.
Follow up regarding status of settlement
proposal (.1); email Atty. Aframe regarding
settlement status (.1).

Review status of avoidance action and next
steps.
Follow up with Trustee regarding next steps in
settlement and litigation.

Review pacer docket and update litigation
control sheet accordingly.

Attention to litigation planning.

Review email from Atty. Aframe regarding
settlement discussions.

Review email from Attorney Aframe regarding
defenses and devise response strategies.
Additional updates to litigation control sheet.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Emails with Atty. Aframe regarding settlement
status and prospects.

Strategize regarding Joint Pretrial Memorandum
and trial (.2); telephone call to Atty. Aframe
regarding settlement proposal (.1).

Review next steps based on lack of response
from Quickflight.

Review status of settlement negotiations; phone
call/left message for Attorney Aframe regarding
final settlement position.

Review open pretrial defense and settlement
issues and materials, need for further
extension, and devise strategies for next
steps.

Review pretrial order for pretrial conference
memorandum contents and begin to outline
pretrial conference memorandum.

Prepare materials necessary for advancing
litigation including Joint Pre-Trial Memorandum
(.5); strategize regarding Joint Pre-Trial
Memorandum contents and exhibits and timing to
produce same (.2); confer with Trustee
regarding same (.1); telephone call to Attorney
Aframe regarding Joint Pre-Trial Memorandum
(.1); follow-up memorandum to Trustee (.1).
Draft amended complaint to include
post-petition transfer and review/revise same;
review local rules and Federal Rules of Civil
Procedure regarding amended adversary
proceeding cover sheet.

Phone call with M. Baldwin regarding
QuickFlight’s operations and payment to
QuickFlight; strategy regarding US DOJ
interview of M. Baldwin and information from M.
Baldwin regarding cash payments received by
QuickFlight.

Follow up regarding call with M. Baldwin and
possibility of. additional cash transfers and
strategize regarding supplemental discovery
based on same (.4); review prior discovery
requests and responses in context of same (.2).
Review new transfer issues and materials and
grounds for amending complaint, related
discovery, pretrial strategies.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Analyze evidence of cash applied by QuickFlight
post-bankruptcy; review QuickFlight’s discovery
responses for additional evidence of cash
payments to QuickFlight; strategy regarding
moving to amend the complaint and drafting
correspondence to Attorney Aframe regarding the
same.

Review discovery responses in order to
determine next steps (.2); memorandum regarding
same (.2); strategize regarding amending
Complaint and extending deadlines in context of
same (.6); attention to preparation of Motion
to Amend (.2); attention to preparation of
Amended Complaint (.1); memoranda regarding
discovery from Quickflight (.1).-

Review emails, additional materials from
opposing counsel regarding additional
transfers, complaint amendment (.3); strategies
regarding pretrial and discovery issues (.2).
Review memorandum to Atty. Aframe regarding
amending Complaint.

Attention to preparation of Motion to Amend
Complaint and Extend Deadlines (.1); review
revised proposed Sale Order (.6).

Review emails from Atty. Aframe and
Quickflight’s principal regarding assent to
Motion to Amend Complaint and regarding
post-petition transfer.

Review status of case/update litigation control
sheet accordingly.

Strategize regarding logistics for Amended
Complaint filing (.1); attend to preparation of
Motion to Amend Complaint and Extend Deadlines
(.3).

Assist with motion to amend complaint and
relevant local rules and format.

Draft Motion to Amend Complaint and Extend
Discovery Related Deadlines (2.2); review and
revise draft Amended Complaint (.4).

Review correspondence from Attorney Aframe
regarding amending Complaint; review
Assented-to Motion to Amend Complaint and
extend deadlines.

Review and further revise Amended Complaint

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

(.2); attention to extension motion (.2).

07/08/14 JHB 0011 Devise strategies regarding complaint 0.20 79.00
. amendment, discovery issues. .
07/09/14 JHB 0011 Review and comment on amended complaint and 0.60 237.00

motion regarding same and review underlying
transfer materials.
07/09/14 jemurphy 0011 Phone call with Attorney Aframe regarding 0.10 26.50
allegations that Quickflight failed to turn
ever all of Direct Air’s cash earned at gate/on
flights staffed by Quickflight.
07/09/14 goneil 0011 Finalize Amended Complaint, with Exhibit, and 1.00 265.00
Motion to Extend Deadlines for Trustee's
review, including to strategize about next
steps and specific amendments (.9); review
emails with Atty. Aframe regarding same (.1).
07/10/14 jemurphy 0011 Communications and conference with Attorney 0.60 159.00
Aframe regarding Motion to Amend Complaint and
Extend Pre-Trial Order Deadlines.
07/10/14 goneil OO1L Review revised Certificate of Service regarding 0.40 106.00
extension motion and edit proposed order to
conform (.1); follow up regarding extension
motion and response from Atty. Aframe (.2);
assist with filing same (.1).

07/11/14 kmdellec 0011 Assist with efiling/service of motion to amend 0.30 58.50
complaint.

07/11/14 jemurphy 0011 Review Court’s order allowing Motion to Amend 0.10 26.50
Complaint; attend to filing Amended Complaint. /

07/11/14 goneil 0011 Follow up regarding filing of Motion to Amend . 0.30 79.50

including e-filing issues (.2); strategize
regarding next steps for amending Complaint and
discovery (.1).

07/14/14 goneil 0011 Calculate and track new discovery deadlines 0.10 26.50
based on Court's Order.

07/17/14 jemurphy 0011 Attend to filing Amended Complaint. 0.10 26.50
07/18/14 JHB 0011 Further review of open discovery, recovery 0.30 118.50
issues and strategies, upcoming pretrial

issues.
07/21/14 jemurphy 0011 Strategy regarding additional discovery to 0.30 79.50
request from Quickflight.
07/22/14 goneil 0011 Strategize regarding supplemental discovery. 0.20 53.00
07/24/14 goneil 0011 Follow up regarding supplemental discovery 0.10 26.50
deadline. /
07/25/14 JHB 0011 Review new discovery materials propounded to 0.30 118.50

defendant.
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Joseph H. Baldiga,

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Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

Review status of case and update control chart
accordingly.

Draft additional Quickflight discovery (Second
Request for Production of Documents, Second Set
of Interrogatories and Second Set of Requests
for Admission) .

Review emails regarding supplemental discovery
requests.

Review revisions to updated control chart.
Review and track additional discovery requests;
calendar ahead.

Phone call with Attorney Aframe regarding
Amended Complaint.

Review Form 2 and update litigation control
chart as to settlement proceeds
received/expected.

Review open issues, next steps in recovery

action and strategies for resolution.

Review status of adversary proceeding and
analyze likely recovery for.the Estate,
Review Answer to Amended Complaint.

Review Answer to Amended Complaint.

Review open recovery, settlement issues.
Review open discovery, document production
issues and strategies, and strategies regarding
continuing settlement discussions.
Communications with Attorney Aframe regarding
his request for an extension of discovery
deadlines.

Review emails regarding discovery deadlines and
settlement.

Review open settlement, discovery issues and
emails.

Communications with Attorney Aframe proposing
settlement.

Review discovery responses and strategies to
address deficiencies.

Review adversary proceeding and main case
dockets and update litigation control sheet
accordingly.

Review case deadlines; status of the case and
next steps; strategy with trustee regarding
settlement opportunities and next steps.
Communications with Attorney Aframe regarding

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Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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defendant’s delayed discovery responses and
extension of subsequent case deadlines.
Communications with Attorney Aframe regarding
the status of Quickflight’s discovery responses
and motion to extend case deadlines; strategy
regarding parameters for acceptable motion to
extend time; discuss settlement with Attorney
Aframe; draft correspondence to Attorney Aframe
regarding moving to extend discovery/other case
deadlines and settlement considerations.
Strategize regarding discovery extension and
related motions.

Continued attention to discovery issues,
production deficiencies and strategies to
address, review and devise response to
extension motion.

Draft correspondence to Attorney Aframe
regarding moving to extend discovery deadline;
review Quickflight’s Motion to Extend
Discovery; strategy regarding response to
Quickflight’s motion.

Review and assess Defendant’s Motion to Extend
Discovery Deadline, including to consider
response (.2); memoranda with Trustee and
counsel regarding same (.1); draft response to
Defendant's Motion to extend, including to
review prior pleadings and deadlines (1.0).
Strategize with litigation team regarding
discovery, possible deposition, review draft
response to extension motion.

Review and edit response to Quickflight’s
Motion to Extend Time.

Analysis and strategy regarding conducting
depositions.

Revise Response and send to Trustee for review
(.6); memoranda with Trustee and litigation
team regarding edits and depositions (.2);
further revise Response and prepare for
e-filing (.2); review and execute Certificate
of Service (.1).

Review and track Court's Order extending
deadlines.

Continued attention to discovery issues and
timing.

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Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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Review Court’s Order on new case deadlines.
Conference with Attorney Murphy regarding
discovery, litigation and resolution issues and
strategies.

Strategy planning/discussion regarding trial in
connection with preference claims.

Attention to ECF notice for J. Baldiga.

Initial strategy regarding analyzing merits of
the case, expected outcome at trial, costs and
settlement considerations; strategize with
Trustee regarding next steps in litigation.
Strategize regarding discovery deadline and
next steps (:1); strategize regarding trial and
joint pretrial memorandum (.2); track deadlines
related to pre-trial memorandum (.1); review
emails with Attorney Aframe regarding discovery
responses and liability for post-petition
transfers (.1).

Continued review of discovery deficiencies and
steps to address.

Review memoranda with Atty. Aframe about missed
discovery deadline.

Review discovery responses, deficiencies, next
steps toward resolution, recovery.

Review Quickflight’s Answers to Second Set of
Interrogatories; review options for compelling
further answers; communications with Attorney
Aframe regarding interrogatory answers and
settlement.

Review open discovery, pretrial issues and
strategies, next steps in attempted resolution,
related defense materials and responses.
Strategy regarding facts and affirmative
defenses on which the Trustee does not object;
strategy regarding Trustee’s statement of the
case for Joint Pretrial Memorandum.

Follow up regarding status of discovery and
joint pretrial. memorandum (.1); assist with
strategy regarding preparation of pretrial
memorandum (.1).

Confer with Trustee regarding status of matter
and next steps. .

Devise pretrial strategies with Attorney Murphy
(.2); review and revise draft pretrial memo and

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Invoice Number ******

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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convey comments regarding same (.3).

Strategy planning regarding pending adversary
proceedings.

Review claims register to determine if proof of
claim filed by Quickflight and report results.
Phone call with Attorney Aframe with merits of
the case and Joint Pre-Trial Memorandum.
Review case documents and case facts admitted
in discovery; analyze facts to be established
at trial; draft and edit Joint Pretrial
Memorandum.

Communications with P. Bley regarding potential
role as witness in Quickflight trial.
Strategize regarding Joint Pretrial Memorandum
and possibility of mediation (.2); review and
revise portions of Joint Pretrial Memorandum
(.4); additional strategy regarding format and
style of Joint Pretrial Memorandum (.2);
attention to timing and filing deadlines
regarding same (.2).

Cross-check and track upcoming deadlines.
Strategy regarding trial exhibits, witnesses
and presentation of evidence.

Strategize regarding Joint Pretrial Memorandum
and trial format, research, and related issues.
Review additional discovery materials,
implications for recovery, settlement.
Continue review of Avondale's discovery and
identify relevant facts not in dispute; begin
to outline Joint Pretrial Memorandum.

Review memorandum to Atty. Aframe regarding
outstanding discovery responses (.1); review
Joint Pretrial Memorandum draft and consider
additional facts to add (.2).

Continued review of pretrial memo, issues, new
materials from Attorney Aframe.

Conference with Attorney Aframe regarding
content of Joint Pretrial Memorandum, and
merits of the case and defenses.

Review additional discovery materials from
defendant, identify deficiencies and devise
strategies to address.

Communications with Attorney Aframe regarding
final draft of Joint. Pre-Trial Memorandum and

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

supplemental discovery from Quickflight.
Review memoranda with Atty. Aframe regarding
additional discovery responses.

Review open pretrial issues, Attorney Aframe
vevisions, continued deficiencies in discovery
responses and steps to address.

Communications with Attorney Aframe regarding
Joint Pre-Trial Memorandum; review further
changes by Attorney Aframe; edits to Pre-Trial
Memorandum and prepare to file.

Review revised pretrial statement, review
underlying transfer and defense issues and
materials, devise settlement and discovery
strategies.

Communications with Attorney Aframe regarding
final Pretrial Conference Memorandum for
filing; attend to filing the same.

Attention to Joint Pretrial Memorandum
deadline.

Review litigation, settlement status and next
steps.

Review open discovery, pretrial issues and
scheduling.

Review Court’s Order for Pre-Trial Conference;
plan for Pre-Trial Conference.

Review and track Court’s Order scheduling
Pretrial Conference; review memorandum from
Trustee regarding same.

Continued attention to discovery, pretrial
issues and strategies, next steps for trial
preparation.

Update litigation control chart.

Conference with Attorney Aframe regarding open
discovery issues, settlement strategies (.2),
related review of underlying defense materials
and arguments (.3).

Update preference chart. as to current
status/deadlines.

TOTAL

TASK: 0012 Adversary Proceeding

Attorney

Summary

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Review email from Trustee extending Allegheny
County Airport Authority deadline (.1).

Review subfile status including passing of
response deadline, email Trustee regarding
same, and prepare materials for Complaint.
On-line search regarding defendant information;
attention to conflict search; review demand and
back-up information and draft complaint and
coversheet and review/revise same; obtain copy
of proof of claim filed by defendant. from
pacer.

Review, edit, finalize, and execute Complaint
and Adversary Proceeding cover sheet.

Finalize complaint, exhibits and cover sheet
for efiling and final review of all.

Attention to filing Complaint.

Receipt of summons and prepare certificate of
service and transmittal letter for same; update
control sheet and calendar ahead regarding
answer deadline.

Review Summons and track Answer deadline.
Review service of process package, research
updated contact information, and edit
Certificate of Service based on same (.3);
review and execute revised Certificate of
Service package (.1).

Finalize transmittal letter enclosing summons
and complaint; final review of certificate of
service prior to efiling; update control sheet
and calendar ahead regarding answer deadline.
Confirm service issues.

Attention to receipt of proof of service.
Receipt/track remaining proof of service.
Confirm receipt of service of process.

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0.20 51.00
1.30 240.50
0.40 102.00
0.30 55.50
0.10 25.50
0.70 129.50
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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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Review completed Complaint and service package
and follow up regarding next steps.

Review settlement parameters, claim materials.
Telephone call from Attorney Smith regarding
settlement (.2); confer with Trustee regarding
same (.1); develop full settlement terms,
including to review and assess proof of claim
in connection with same (.5); email Attorney
Smith to follow up on call and outline
settlement terms (.3); attend to preparation of
Settlement Agreement (.2).

Draft Stipulation of Settlement (.5); draft
Motion to Approve Stipulation with proposed
Order (.4); draft Motion to Limit Notice, with
proposed Order (.2).

Revise settlement stipulation.

Review and revise Stipulation (.2); review and
revise Motion to Approve (.2); review and
revise Motion to Limit Notice, with proposed
Order (.1); finalize all pleadings and email
Stipulation to Attorney Smith for review (.3);
emails with Attorney Smith regarding comments
on Stipulation (.1); review and assess comments
(.1); revise and edit Stipulation to reflect
Attorney Smith’s requested charges (.6);
finalize Stipulation for Trustee review and
confer with Trustee regarding same (.2);
incorporate Trustee’s edits into Stipulation
and email revised Stipulation to Attorney Smith
for further review (.2); revise Motion to
Approve to reflect updated Stipulation terms
(.2).

Track answer deadline and review pacer docket
as to answer, if any.

Finalize Motion to Approve (.1); review and
revise Certificate of Service and update
service list (.1).

Follow up regarding Stipulation status and
lapsed Answer deadline.

Review email from Attorney Smith regarding
status of Stipulation and funds.

Emails with Attorney Smith regarding signature
pages on Stipulation.

Finalize settlement pleadings for

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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efiling/service.

Review emails from Attorney Smith attaching
second signature, execute, and finalize
approval package for filing.

Review local rules regarding electronic
signatures (.1); email Attorney Smith with
fully-executed Stipulation and information
regarding next steps (.2).

Track order allowing motion to limit notice.
Attend to filing Stipulation approval package.
Draft notice of voluntary dismissal with
certificate of service; review and revise and
confirm service address.

Note passage of funding deadline and email
Attorney Smith to follow up regarding same;
confirm receipt of funds, track, and address
deposit of same.

Forward order approving settlement to E. Smith
via electronic mail; update control sheet;
revisions to notice of dismissal and calendar
ahead regarding entry of final order and
efiling of same.

Review Order approving Allegheny Stipulation
and follow up regarding next steps to dismiss.
Review and edit Notice of Voluntary Dismissal.
Review and execute Notice of Dismissal.

Review Pacer docket as to appeals, if any, and
finalize notice of voluntary dismissal for
e-filing and service.

Attend to filing Dismissal Notice and review
Court’s dismissal docket entries (.1); email
Dismissal Notice to Attorney Smith (.1); update
Preference chart to wrap up matter (.1).

Track efiling/service of notice of dismissal.
Emails with Attorney Smith regarding amended
Proof of Claim and potential distributions
(.2); track allowed amended Proof of Claim
(.1).

Review new docket entries regarding case
closure and disposition of adversary
proceeding; update chart to reflect.

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MIRICK, O'CONNELL

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

TASK: 0013 Adversary Proceeding

Attorney Summary Hours Value Rate
139 JHB Joseph H. Baldiga 2.40 936.00 390.00
290 goneil Gina B. O'Neil 18.40 4,692.00 255.00
255 cbhorourk Cori B. O’Rour 2.10 399.00 190.00
281 jemurphy Jessica E. Mur 50.20 12,801.00 255.00
162 RBG Robert B. Gibbons 1.90 712.50 ' 375.00
274 kmdellec Kimberly M. De 4.70 869.50 185.00
337 abaer Amanda M. Baer 2.10 462.00 220.00
TYPE 0013 TOTAL 81.80 20,872.00

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Review Trustee's summary email regarding
insider preference Complaints (.1); review
Insider Analysis Chart and develop strategies
for insider preference Complaints (.8); present
insider analysis to Trustee and continue
developing Complaint strategies (.4).
Strategize with Trustee regarding attachments
and preliminary injunctions associated with
insider transfer Complaints (.3); compile
materials necessary to prepare same (.1).
Strategy with Attorney O'Neil regarding
complaints to bring against founding members
and available prejudgment security.

Strategize regarding Complaints v. insiders.
Assess to logistics of preliminary injunction.
Follow-up regarding preference-related
questions to ask founders at interview.
Strategies regarding Keilman demand.

Draft demand letter to Robert Keilman and
attention to exhibit identifying
preference/fraudulent transfer payments;
attention to revisions for both,

Develop and edit preference and fraudulent
transfer demand letter to B. Keilman.
Strategize regarding next steps to pursue R.
Keilman (.2); attend to preparation of demand
letter for Mr. Keilman (.6); review and revise

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1.30 331.50
0.40 102.00
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Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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demand letter and exhibit (.2); telephone call
with Trustee regarding demand letter (.2);
additional edits to demand letter, including to
reference Massachusetts state fraudulent
transfer law, based on Trustee’s suggestions
(.7); Finalize demand letter and email same to
Attorney Rafferty (.3).

Review insider transfer issues and materials,
demand strategies (.3); review related demand
to Mr. Keileman (.1).

Follow-up regarding demand letter to Mr.
Keilman.

Review back-up information as to payments;
draft Complaint for fraudulent
transfers/preferences and adversary cover
‘Sheet; review and revise Complaint to include
additional possible counts and attention to
exhibits; electronic mail to Accountant to
request copies of back-up.

Discuss logistics of insider Complaints with
Trustee (.1)

Strategy planning / discussion regarding
document production and pending deposition.
Strategy planning / discussion and research
regarding fraudulent transfer claims against
CFO in connection with repayment of alleged
investments.

Strategy and review requirements for proposed
causes of action; strategy regarding preference
and fraudulent transfer claims to be brought
against B. Keilman and other founding members.
Analyze payments from and to B. Keilman.
Review correspondence from T. Rafferty
regarding demand and subpoena to B. Keilman.
Strategize with Trustee about timing and
contents of Complaints v. Insiders (.3);
additional strategy with Trustee regarding
Complaints (.2); create spreadsheet showing
transfers to each of 5 founders by time period,
for use in analyzing viable causes of action
(1.1).

Review emails with P. Bley regarding Mr.
Keilman’s equity infusion (.1) and follow up
regarding Mr. Keilman’s investment history

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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(.1); identify next steps to analyze causes of
action (.1); review and assess Attorney
Rafferty’s response to Keilman demand letter
(.2); strategize regarding fraudulent transfer
counts v. Mr. Keilman (.4).

Exchange correspondence with Attorney Rafferty
regarding documents requested in B. Keilman’s
2004 Examination subpoena.

Complete spreadsheet summary of transfers
received by Founders per 1, 2, and 4 year
period.

Strategy regarding charts of payments to
Founders by time period (.2); cross-check
payment charts and identify discrepancies with
K. Ellison payments (.6); strategize regarding
impact of discrepancies and ways to address
(.3); assist with message and review message to
P, Bley regarding discrepancies (.2).
Memorandum to Trustee regarding insider
transfer status (.1) and follow up regarding
same (.1); review memorandum from P. Bley
regarding insider charts (.1).

Review Attorney Rafferty’s correspondence
responding to B. Keilman’s preference/fraud
transfer demand; review detail of payments by
B. Keilman to Direct Air and repayments. (.8)
Review response from Attorney Rafferty to R.
Keilman demand.

Follow up regarding Mr. Keilman’s response;
consider next steps to address.

Memorandum regarding Mr. Ellison’s arrest and
consider impact of same in Investigation
context.

Confer with Trustee regarding assessment of R.
Keilfnan response.

Strategize regarding claims against R. Keilman
and develop preliminary questions for
deposition based on his settlement proposal.
Review mailed response letter from Attorney
Rafferty regarding Mr. Keilman,.

Emails with Trustee regarding assessment of Mr.
Keilman's preference demand response.

Review and assess R. Keilman’s response and
offer letter, including to identify questions

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Joseph H. Baldiga,

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Chapter 7 Trustee

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and additional information needed regarding
same (.7); create and assess spreadsheet of all
payments to Mr. Keilman with l-yr, 2-yr, and
4-yr pre-petition windows based on new total
transfers spreadsheet from P. Bley (1.1);
prepare for meeting with Trustee regarding R.
Keilman analysis (.2).

Confer with Trustee and litigation team
regarding Mr. Keilman’s response.

Assess recovery grounds, collectability and
devise complaint, resolution strategies, review
underlying transfer materials.

Strategize with Attorney Murphy regarding
corporate entities and principals in
preparation of telephonic interviews.

Analyze corporate backgrounds in preparation
for telephonic interview with Jeffry Conry.
Strategize with Attorney Murphy regarding
association of various corporate entities.
Review open issues and devise resolution
strategies regarding open preference matter,
and review defense materials.

Review status of and potential for
preference/transfer demands v. insiders,
including founders and Avondale entities, in
context of current developments and timing of
investigation.

Confer with Trustee to develop next steps
regarding insider transfer recovery.

Confer with Trustee regarding actions v.
insiders.

Review insider payment information, potential
causes of action, and related case information
in order to develop possible Complaints v.
insiders.

Develop strategies for preparing all insider
complaints.

Strategize regarding development of Complaints
v. insiders (.3); confer with Trustee regarding
same (.1).

Review case materials and issues regarding
actions v. insiders and devise complaint
grounds.

Review memorandum from Trustee regarding

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Joseph H. Baldiga, Chapter 7 Trustee

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Invoice Number ******

Direct Air (Southern Sky Air & Tours, LLC)

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development of Insider Complaints and follow up
regarding same (.2); develop counts for all

- Insider Complaints, including to consider

impact of "loans" or "investments" in same

(.6); confer with Trustee regarding insider

counts and related analysis (.2); follow up

regarding next steps (.2); confer with Trustee

regarding plan for next steps (.1).

Research and analyze causes of action against 3.70 943
the Founding Members for conduct identified in

the investigation report.

Consider consolidated v. separate Complaints 0.30 76.

against the Founding members and causes of
action for same.

Strategic planning/discussion regarding claims 0.40 150.

against officers.

Continue work identifying causes of action 0.90 229.

against the Founding Members, including
evaluation of the applicable state and
bankruptcy fraudulent transfer claims.

Further strategy and research into claims 1.20 306.

against the Founding Members based on breach of
fiduciary duty and other employer-employee
claims for wrongful conduct in the course of
their work.

Strategize regarding development of claims. 0.20 51.
Research civil RICO claim and. other causes of 2.90 739.

action against the Founding Members, including
civil causes of action for actual fraud in
falsifying Direct Air’s business records.

Strategize regarding potential RICO claims. 0.10 25.
Further legal and factual analysis of RICO 1.20 306.
claims against the Founding Members.

Assist with development of RICO claims. 0.20 51.
Meeting with J. Murphy regarding possible RICO 0.40 88.
claim.

Research federal case law regarding elements 1.70 374.

for a civil RICO claim; draft memorandum
regarding same; conference with Attorney Murphy
regarding same.

Review and analyze Direct Air’s payments to 2.60 663.

Keilman and his investments in Direct Air;
calculate payments to Keilman by category of
payment; communications with P. Bley regarding

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Invoice Number ******

Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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transfers from Direct Air accounts to all
founding members.

Strategy regarding the founders’s complaints
and complaints against Avondale Aviation and
personnel after the acquisition.

Review backup documentation for transfers to B.
Keilman; obtain and analyze payment to DA
Consultant.

Attention to receipt of backup documentation
for insider Complaints.

Review backup for transfers made to or on
behalf of S. Ellison.

Continue analysis of backup records of
transfers to the founding members to support
complaint damages; communications with P. Bley
regarding the same.

Phone call with P. Bley regarding back-up for
transfers to/for founding members; review
additional back-up documents.

Confirm. property ownership of J. Tull in Myrtle
Beach.

Further review and organize back-up for
transfers to all of the founding members and
Avondale for use in Adversary Proceeding
Complaint; evaluate payments as preferential or
fraudulent transfers.

Strategize regarding inclusion of claims and
breakdowns of Complaints.

Edit Adversary Proceeding Cover Sheet for all
founding member complaints.

Assist with filing and service logistics for
all Complaints (.2); confer with Trustee
regarding same (.1).

Research RICO claim elements; research
successor company’s liability for breaching
fiduciary duty and other negligence that
deepened the insolvency; develop facts and
draft adversary proceeding complaints against
E, Warneck and S. Ellison, K. Ellison and J.
Tull, and Avondale Aviation I; attending to
filing verified adversary proceeding complaint.
Assist with filing logistics regarding
Complaints and preliminary injunction motions.
Research law on standard for granting

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F (Part 3) Page 22 of 77

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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preliminary injunction where inability to pay
judgment in cause for irreparable harm; draft
applications for preliminary injunction and

proposed injunction orders against all founding

members and Avondale Aviation I; review Court’
notice regarding hearing on all applications
for preliminary injunction and attend to

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service of the application and notice forthwith

on all parties.

Assist with planning and noticing out of
hearing information regarding Preliminary
Injunction.

Review and strategy regarding all elements of
fraudulent transfers claims against the
founding members; plan to amend adversary
proceeding complaints to expressly allege
antecedent debt.

Attention to appearances in adversary
proceeding.

Begin to prepare argument for hearing on
applications for preliminary injunctions.
Communications with Attorney Boyd regarding J.
Tull and the Ellisons’ response to the
complaint and application for preliminary
injunction; update trustee,

Assist with Preliminary Injunction hearing
preparation, .

Prepare argument for hearings on preliminary
injunctions/TROs against all founding members
and Avondale Aviation; prepare agreed TRO for
submittal to the court for J. Tull, the
Ellisons and B. Keilman; review bankruptcy
filing for E. Warneck.

Attend hearing on Trustee’s applications for
preliminary injunction at the Worcester
Bankruptcy Court; review the Court’s orders
after the hearing and attend to service of the
Court orders.

Attention to appearances in adversary
proceeding.

Evaluate claims against the founding members
and Avondale and evidence required to prevail
at trial; strategy regarding consolidation of
the preliminary injunction with a trial on the

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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merits as permissible in the Federal Rules.

Strategize regarding issues related to 0.60
consolidation of preliminary injunction hearing

and trial for all three Founders’ Complaints.

Review service, recovery issues and strategies. 0.30

TOTAL 81.80

TASK: 0014 Adversary Proceeding

Attorney Summary

139 JHB Joseph H. Baldiga
290 goneil Gina B. O'Neil
274 kmdellec Kimberly M. De

TYPE 0014

Time Detail

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Value

Telephone call to Attorney Bartolomei (Tech 0.10
Aviation) to follow up on his response (.1).

Review Tech Aviation preference response status 0.40
(.1), confer with Trustee regarding next steps

(.1), and compile materials necessary to

prepare Complaint (.2).

Email M. Whitehouse to request payment backup 1.60
(.1); investigate corporate status and

identification information (.3); draft

Complaint to recover preferences and require

turnover of property of the Estate (1.2).

Review and revise Adversary Proceeding Cover 1.20
Sheet (.1); review, revise, and augment

Complaint, including to review Bankruptcy Code

sections regarding turnover of Estate property

and disallowance of claims (1.0); confirm no

proof of claim filed by defendant (.1).

Follow up regarding defendant's claims and 0.10
Complaint.

Further revise Adversary Proceeding cover sheet 0.50
(.1); review and further revise Complaint (.4).

Review revised Complaint and further edit same. 0.10
Review email from M. Whitehouse attaching 0.10

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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payment backup.

Review and revise complaint and review
underlying transfer materials.

Review and cross-check checks and wire backup
and update Complaint to reference same.

Revise exhibits (.2); finalize Complaint for
Trustee’s review (.1).

Final review of cover sheet, complaint and
exhibits and finalize for efiling.

Draft transmittal letter to defendant enclosing
complaint/summons; review file information and
on-line search as to current address/registered
agent/corporate officers of defendant.
Attention to completion of exhibits to
Complaint (.1); finalize Complaint package for
filing (.1).

Attend to filing of Complaint (.1); review
summons and address administrative filing error
to cause re-issuance (.2); review revised
Summons and track answer deadline (.1).

Assist with service of process.

Review and revise Certificate of Service
regarding Summons and transmittal letter.
Finalize transmittal letter and summons for
service and certificate of service for efiling;
coordinate all.

Review revised summons package and execute
Certificate of Services.

Track return of service.

Receipt/track proof of service.

Review transfer materials, answer issues.
Review file information for correspondence to
prior counsel.

Telephone call with Attorney Bilowz regarding
matter background and Answer deadline (.2);
review prior correspondence in matter (.1) and
draft memorandum to Trustee regarding
extension, potential collectibility issues, and
Stipulation to escrow funds (.2); follow up
with Trustee regarding extension deadline (.1);
review additional prior correspondence in
matter and send package of same to Attorney
Bilowz with matter summary and Answer deadline
extension information (.4).

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Review open recovery issues and strategies to
resolve. .

Review Answer to Complaint (.1); telephone call
with Attorney Bilowz regarding Answer and next
steps (.2); review Court’s Pre-Trial Order
(.1).

Negotiations with Attorney Bilowz regarding
avoidance action (.2), review underlying
transfer, defense materials (.3).

Review email from Attorney Bilowz regarding new
value analysis (.1); email Trustee with initial
assessment of same (.1).

Review open issues and devise resolution
strategies regarding open preference matter,
and review defense materials.

Track 26(f) conference deadline (.1); review
and assess new value defense and develop
recommendation regarding same (.3); draft
response to Attorney Bilowz regarding new
value, remaining issues, and next steps toward
resolution (.4); confer with Trustee regarding
response (.1); edit and send response to
Attorney Bilowz regarding settlement
negotiations (.1); update preference chart to
reflect (.1).

Review Corporate Ownership Statement and
information about affiliate Niagara Falls
Redevelopment, LLC (.1); update chart (.1).
Email Attorney Bilowz to schedule 26(f£)
conference.

Emails with Attorney Bilowz to schedule Rule
26(£) Conference.
Prepare for 26(f) Conference including to
review relevant Code sections and to develop
list of discussion points (.6); conduct 26(f)
Conference with Defendant's counsel (.4);
provide summary to Trustee regarding same (.1).
Prepare Initial Disclosures, including to
review categories of documents in Trustee's
possession (.3); prepare cover letter to
Attorney Bilowz enclosing Initial Disclosures
(.1); prepare draft 26(f) Conference Report and
Certification (.7); calculate and track
discovery-related deadlines from Pretrial Order

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Joseph H. Baldiga,
(Southern Sky Air & Tours, LLC)

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Invoice Number ******

Chapter 7 Trustee

(.3).

Review timing of 26(f) Report and Initial
Disclosures, in context of potential settlement
terms.

Review and revise Trustee’s Initial Disclosures
and cover letter regarding same (.1); review,
revise, and augment draft 26(f) Conference
Report (.4).

Finalize and execute Initial Disclosures and
cover letter to Attorney Bilowz (.1); finalize
26(£) Report for Trustee’s review (.1); review
and revise Certificate of Service regarding
26(£) Report (.1); implement Trustee’s edits
into 26(f) Report and finalize all documents to
send to defendant (.1); email Initial
Disclosures to Attorney Bilowz (.1).

Email draft 26(£) Conference Report to Attorney
Bilowz (.1); attention to discovery planning
(.1).

Review preference demand, complaint, answer and
correspondence between trustee and defendant's
counsel; draft request for production of
documents, request for admissions and
interrogatories. .

Emails with Attorney Bilowz regarding 26(f)
Report (.1); finalize 26(f£) Report for filing
(.1); review and revise Certificate of Service
(.1); attend to filing 26(f) Report {(.1).
Prepare materials for developing discovery
requests.

Review Defendant’s Initial Disclosures from
Attorney Bilowz.

Review, revise, and augment Request for
Production of Documents.

Review discovery deadlines and emails with
Attorney Bilowz regarding timing and status of
potential settlement.

Review timing and steps for discovery, in
context of lack of settlement progress.
Continue to review, revise, and develop
discovery requests, including First Request for
Production of Documents (.9); email Attorney
Bilowz for update regarding settlement offer
(.1); review, revise, and augment Plaintiff's

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MIRICK, O’ CONNELL

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

14190. Direct Air (Southern Sky Air & Tours, LLC)

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First Request for Admissions (.8); review,
revise and augment Plaintiff’s First Set of
Interrogatories (.8)..

Review discovery strategy in context of
Defendant’s continuing lack of response
regarding settlement.

Further augment and develop discovery requests
(documents, interrogatories, and admissions)
and finalize same for review (1.2); implement
suggested edits into discovery requests package
and finalize documents for Defendant (.7);
email P. Bilowz with discovery requests (.2).
Review email from Atty. Bilowz regarding
receipt of discovery requests and status of
settlement.

Review and consider settlement offer (.2);
memoranda with Trustee regarding same (.2).
Draft and review/revise settlement agreement;
review background information in demands and
complaint; obtain copy of proof of claim filed
by Niagara from Pacer claims register.

Review email from Atty. Bilowz regarding
settlement offer (.1) and reply with
counteroffer (.4); update chart to reflect same
(.1).

Emails with Atty. Bilowz regarding acceptance
of settlement offer (.1); follow up regarding
preparation of settlement agreement (.2).
Track transmittal of proposed settlement
agreement to defendant.

Review and revise Settlement Agreement.

Review Proof of Claim and revise and augment
Stipulation to reflect allowance of a
re-calculated portion of the Proof of Claim
(.7); memorandum to Trustee regarding Proof of
Claim calculations and corresponding
Stipulation terms (.3); email draft to Atty.
Bilowz for review (.1).

Review email from Atty. Bilowz regarding status
of Stipulation.

Emails with Atty. Bilowz regarding settlement
status.

Execute Stipulation (.1); attend to receipt of
funds and addressing settlement (.2).

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

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Draft approval motion, motion to limit, tolling
agreement and certificate of service; review
and revise all (x2).

Emails with Atty. Bilowz regarding status of
Stipulation (.1); assist with preparation of
approval package (.1); consider addition of
Tolling Agreement to package (.1).

Forward fully executed copy of stipulation and
tolling agreement to P. Bilowz via electronic
mail. .

Correspondence with Atty. Bilowz regarding
signed Stipulation.

Review and revise Stipulation approval package,
including Motion to Approve and Motion to Limit
Notice.

Review and revise settlement approval package
(.2); finalize for filing and execute same
(.). .

Track/confirm order regarding motion to limit
notice.

Review Court’s Order approving Stipulation and
track Adversary Proceeding dismissal
information.

Review pacer docket and prepare stipulation of
dismissal and certificate of service; review
and revise same.

Attention to revisions to Stipulation of
Dismissal; forward to P. Bilowz via electronic
mail for review and signature.

Review and revise Stipulation of Dismissal
(.1); review Bankruptcy Rules regarding
dismissal and follow up regarding same (.1).
Review emails with Defendant’s counsel and
execute Stipulation of Dismissal in connection
with same. ,

Track closure of adversary proceeding by
Bankruptcy Court; review docket entry and
determine to not file stipulation of dismissal.
Follow up regarding Stipulation of Dismissal
(.1); review Court’s Order dismissing case and
follow up regarding same (.1).

Follow up regarding dismissal of Adversary
Proceeding in context of Court’s closing of
cases, including to finalize filed documents.

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga,
14190 Direct Air (Southern Sky Air & Tours, LLC)

TASK:

TYPE 0014

Attorney Summary

166
139
290
255
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CED Christine E. Devine
JHB Joseph H. Baldiga
goneil Gina B. O'Neil
cborourk Cori B. O’Rour
jemurphy Jessica E. Mur
RBG Robert B. Gibbons
kmdellec Kimberly M. De
jjport Jason J. Port
AJF Allen Falke

kfoley Kate Foley

TYPE 0015 TOTAL

Time Detail

10/08/13 goneil 0015

10/09/13 goneil 0015

11/01/13 JHB 0015

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Chapter 7 Trustee

TOTAL

0015 Adversary Proceeding

Hours Value Rate
0.20 77.00 385.00
56.90 22,359.00 392.95
17.50 4,495.50 256.89
6.00 1,140.00 190.00
68.80 17,884.00 259.94
0.40 150.00 375.00
7.10 1,350.50 190.21
0.40 92.00 230.00
1.60 560.00 350.00
1.90 418.00 220.00

160.80 48,526.00

Attend to preparation of Complaint v. Mr.
Keilman (.2).

Assist with preparation of R. Keilman Complaint
including to obtain backup documentation
regarding same.

Further assessment of asserted defenses and
review of related case materials (.4),
discussion with litigation team regarding
recovery, Giscovery issues and strategies (.4).
Review R. Keilman response materials in
preparation to meet with Trustee (.2); confer
with Trustee regarding Keilman response (.4).
Email Attorney Rafferty regarding response to
demand.

Review emails regarding strategy and deposition
results as related to Mr. Keilman.

Analyze Bob Keilman’s expense reports and
airline itineraries for the years 2006-2012 and
chart same in preparation for deposition,

Draft chart of R. Keilman’s Myrtle Beach trips
for use at deposition.

36.80 8,879.00
Hours Value
0.20 51.00
0.20 51.00
0.80 312.00
0.60 153.00
0.10 25.50
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MIRICK, O’ CONNELL

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Joseph H. Baldiga,

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Invoice Number ¥******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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Review and assess financial documents signed by
Mr. Keilman in 2008 regarding equity interest
and CFO status.

Memoranda regarding Merchant Agreement
signatures.

Online research with Monmouth County, NJ
Registry of Deeds to obtain deeds to R.
Keilman's properties in Spring Lake and
Marlboro; review encumbrances; discussions
regarding fraudulent transfer.

Assess information regarding personal financial
statement.

On Keilman, review Raftery proposal and devise
response strategies, related emails with
litigation team.

Consider possibility of group resolution (.1);
review email from Attorney Rafferty with loan
documentation (.1); review and assess email
proposal from Attorney Rafferty regarding
global settlement, including information about
assets (.2).

Review email from Attorney Rafferty with new
loan documents for Mr. Keilman.

Online research to obtain market value of
properties previously owned by R. Keilman for
potential fraudulent transfer claim.

Draft proposed escrow language for Stipulation
regarding Answer deadline and email Trustee
regarding same.

Review open preference issues, form of PFS.
Identify and review form of personal financial
statement for Mr. Keilman to fill out (.2);
emails with Trustee regarding potential edits
to same, and consider other potential edits
based on fraudulent transfer laws (.2); email
form to Attorney Rafferty (.1).

Consider impact of H. Torbert interview and
"triggering event" information on settlement
discussions with Mr. Keilman.

Phone call from B. Keilman regarding
clarification of his follow up interview
answers.

Revise, develop, and augment draft Complaint Vv.
Mr. Keilman, including to add background facts

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Invoice Number ******

Chapter 7 Trustee

14190. Direct Air (Southern Sky Air & Tours, LLC)

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and various counts, and to research addition of
subordination related counts.

Attention to edits to Complaint.

Review email from Trustee regarding Mr.
Keilman’s asset transfer.

Devise complaint grounds v. Keilman and review
underlying case materials.

Review documentation supporting fraud charges.
Review additional potential claims v. Mr.
Keilman based on corporate entity status.
Assist with finalizing Complaint.

Strategize regarding claims v. Mr. Keilman,
structure of Complaint, and next steps to
finalize numbers.

Edit and further draft adversary proceeding
complaint against Robert Keilman for breach of
fiduciary duty (to corporation and limited
liability company), preference payments, and
recovery of fraudulent transfers.

Strategize regarding Complaint structure.
Review and edit Complaint and provide
memorandum with suggested. edits.

Edits to adversary proceeding complaint against
Robert Keilman.

Review and revise Keilman complaint, review
underlying transfer materials.

Review edits to be made to Keilman adversary
proceeding complaint; strategy regarding
prejudgment security options; edit complaint;
strategy regarding claims and facts relevant to
adversary proceedings against other founding
members.

Review Trustee's edits to Complaint and assist
with strategy for finalizing Complaint (.4);
review final numbers for Complaint (.2).
Strategize regarding timing of filing Complaint
and inclusion of exhibits with Complaint.
Review memoranda regarding backup documents for
Complaints.

Review and edit portions of Complaint.

Review and revise modified complaint,
injunction request.

Prepare adversary proceeding cover sheet,

Edit and further draft Adversary Proceeding

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

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Complaint against B. Keilman.

Assist with preparation of AP Cover Sheet.
Review final form of complaint, underlying
transfer materials, execute verification.
Prepare Declaration regarding electronic filing
regarding Keilman verified complaint and assist
with efiling same; assist with preparation of
application for injunctive relief and proposed
order.

Review memoranda with Trustee regarding Keilman
Complaint (.1); provide advice regarding
signatures and electronic filing for Verified
Complaints.

Attention to notice of emergency hearing
regarding preliminary injunction and notice of
same.

Review supplemental certificate of service
regarding notice of emergency hearing regarding
preliminary injunction.

Call, emails with Attorney Madoff regarding
complaint, injunction issues, review proposed
language from same for injunction order.
Attention to ECF notice for J. Baldiga and G.
O'Neil.

Phone call with Attorney Madoff regarding
agreement to enter TRO with R. Keilman.

Assist with Keilman matter analysis.

Assist with personal financial statement and
settlement information needed.

Communications with Attorney Madoff regarding
extension of answer deadline; review proposed
extension motion.

Review Motion to Dismiss.

Call, emails with Attorney Madoff regarding
settlement negotiations, additional information
required (.7), review underlying transfer,
defense issues and materials (.4).

Review dismissal, reference motions and devise
response strategies.

Review and begin to analyze argument in
Keilman’s Motion to Dismiss and Motion to
Withdraw the Reference; statutory and case law
research on South Carolina fraudulent transfer
statute; research procedure for Motion to

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Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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Withdraw the Reference and timing of
opposition.

Phone call with Attorney Madoff regarding
Keilman'’s settlement offer; review Keilman’s
financials; analyze the Trustee’s ability to
recover from Keilman’s assets.
Communications with D. Madoff regarding
Keilman’s settlement offer.

Strategize regarding Motion to Dismiss (.1);
strategy regarding withdrawal of reference
(.1); telephone call with Atty. Madoff
regarding potential settlement (.2).

Further analysis regarding dismissal motion,
settlement offer and devise information
requests (.3); related call with Attorney
Madoff (.3).

Strategy planning regarding
claims/settlement/financial disclosure.
Strategize regarding settlement offer and
bankruptcy.

Continued attention to document production,
settlement issues and strategies.

Strategy planning/discussion regarding
resulting trust claim.

Communications with Attorney Madoff regarding
Keilman’s financial records to evaluate
settlement with; communications with Attorney
Rafferty regarding settlement; evaluate
settlement parameters in light of Keilman’s
assets and discussions with the Trustee
regarding the same.

Continued attention to pretrial, settlement
issues, strategies and negotiations.

Online research regarding current property
values of Keilman properties in Marlboro and
Spring Lake, Nd; obtain market value of both
properties; update memorandum of assets.
Review real estate and other assumed assets of
B. Keilman; draft correspondence to Attorney

Rafferty with Trustee’s settlement counteroffer

and basis for the same.
Continued analysis, strategies regarding
settlement parameters and rationale and open
discovery, recovery issues.

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Joseph H. Baldiga, Chapter 7 Trustee

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Ongoing strategy regarding R. Keilman’s
settlement position and negotiations.
Strategize regarding settlement negotiations,
especially in context of Mr. Keilman’s family
assets.

Phone call from Attorney Madoff regarding
Keilman’s settlement position and counteroffer,
Continued review and assessment of defense
assertions, settlement proposals, and devise
response strategies.

Initial evaluation of Keilman’s settlement
offer; draft memorandum to Trustee regarding
the same.

Attend to continuing deadlines for pending
motions filed by R. Keilman.

Review Trustee’s memoranda regarding settlement
status and plans for next steps (.1);
strategize regarding withdrawal of reference
and extension motion (.2).

Strategize regarding continuance of Trustee's
deadlines in pending adversary proceeding and
attention to next steps regarding drafting
motion to continue Trustee’s deadlines in
pending adversary proceeding.

Telephone calls to case. administrator regarding
status of Defendant's pending Motion for
Withdrawal of Reference and parties’ intention
to extend deadlines and reschedule hearing
regarding Defendant’s pending Motion to Dismiss
Adversary Proceeding.

Review of procedural background of pending
adversary proceeding (.1); draft, review and
revise Trustee’s Assented-to Motion to extend
response deadlines related to motions pending
in adversary proceeding and continue hearing on
Defendant's Motion to Dismiss (.7).

Draft proposed Order extending Trustee’s
response deadlines related to motions. in
pending adversary proceeding and continuing
hearing on Defendant’s Motion to Dismiss (.4);
review of and revise Trustee’s Assented-to
Motion to extend response deadline related to
motions pending in adversary proceeding and
continue hearing on Defendant’s Motion to

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Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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Dismiss (.3).

Continued negotiations, strategies, assessment
of defenses. ,

Draft Motion to Continue Trustee’s Opposition
to Keilman’s Motions; communications with
Attorney Madoff regarding the same and on-going
settlement discussion.

Finalize and attention to efiling/service of
notice of (a) extended objection deadline and
(b) continued hearing.

Communications with Attorney Madoff regarding
Preliminary Injunction hearing against Keilman.
Continued attention to open settlement,
payment, extension issues, strategies if no
resolution, and review related emails,
discovery from opposing counsel.

Further review of open issues, settlement
negotiations, assess defenses and devise
strategies to resolve; review related discovery
issues, opposing counsel emails.

Continued negotiations with opposing counsel.
Further strategy with Trustee regarding
settlement efforts and position with respect to
Keilman.

Continue settlement negotiations and devise
response strategies regarding dismissal and
reference withdrawal motions.

Research regarding resulting trusts.

Continued assessment of defenses, responses and
devise strategies to resolve, further trust
research.

Review open discovery, settlement issues and
strategies. .

Strategy regarding settlement parameters for R.
Keilman. .

Continued attention to open discovery,
settlement issues, strategies and related
emails.

Determine and obtain copies of all asserted tax
claims in connection with settlement.

Phone call to Attorney Boyd regarding interview
with J. Tull regarding B. Keilman’s role.
Research South Carolina fraudulent transfer law
and New Jersey constructive trust law; draft

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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detailed settlement counteroffer and
explanation to Attorney Madoff.

Continued strategies, document review and
settlement parameters.

Prepare for and phone call with J. Tull
regarding R. Keilman’s involvement in Direct
Air and loans to the Debtor.

Phone calls with Attorney Madoff regarding
Keilman’s settlement response.

Further strategy regarding Keilman settlement
and next steps if settlement rejected.
Continue negotiations, defense and recovery
assessment and review related issues and
documents.

(Keilman) Phone call with Attorney Madoff
regarding B. Keilman’s settlement counter-offer
and settlement considerations; begin to
evaluate settlement considerations, including
impact of a bankruptcy filing by B. Keilman and
personal liability for the Direct Air tax
claims; draft correspondence to Attorney Madoff
regarding the same.

Strategize regarding Mr. Keilman’s IRA and
related preliminary injunction issues,
including anticipated arguments from Mr.
Keilman.

Continued analysis and strategies regarding
settlement parameters, potential tax
liabilities of Mr. Keilman, counteroffer
issues.

Calendar ahead regarding receipt of
substantiation of Keilman’s personal tax
exposure from Attorney Madoff.

Review pacer docket and update litigation
control sheet accordingly.

Assist with analysis of tax claims v. Mr.
Keilman (.1); review memorandum regarding
settlement and liabilities (.1).

Continue negotiations, review additional
materials from Attorney Madoff and related tax
issues and materials, devise settlement
strategies.

Additional updates to litigation control sheet.
Communications with Attorney Madoff regarding

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Invoice Number ******

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status of response to the Trustee’s request for
additional information from the Keilmans.
Continued attention to settlement parameters
and support, related emails from Attorney
Madoff£.

Extensive negotiations and review of defenses,
tax implications and multiple emails with
Attorney Madoff, discussions with Attorney
Murphy.

Multiple communications with Attorney Madoff
and the Trustee regarding the Keilmans’
financial information in support of R.
Keilman’s settlement offer and ongoing
settlement negotiations; strategy regarding
extending current motion dates while settlement
ongoing.

Strategize regarding settlement negotiations.
Strategies regarding upcoming deadlines and
hearings (injunction, dismissal and reference
motion) (.3); assess asserted defenses, trust
issues (.4); lengthy call with Attorney Madoff
regarding information production, resolution
parameters and tax claim issues, and next steps
(.8), follow up analysis and strategies (.3).
Strategy with trustee regarding settlement with
Keilman.

Telephone call with Attorney Madoff regarding
settlement negotiations and next steps in the
litigation.

Review, revise proposed confidentiality
agreement, impending deadlines, strategies to
address and related resolution parameters.
Analyze proposed Confidentiality Agreement and
restriction on use of Keilmans’ financial data;
edits to Confidentiality Agreement.

Continued attention to confidentiality
agreement issues and revisions, related
document production, extension issues,
continued Madoff emails.

Telephone call from Bankruptcy Court clerk
regarding evidentiary hearing (.1); memorandum
to Trustee regarding same (.1).

Begin review of additional information from
Attorney Madoff and devise litigation,

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settlement strategies.

Draft Motion to Continue Temporary Restraining
Order and Preliminary Injunction hearing;
evaluate opposition deadline and hearing dates
for Defendant's Motion to Dismiss and Motion to
Withdraw the Reference; communications with
Attorney Madoff regarding the same and proposed
Confidentiality Agreement.

Strategize regarding global continuance motion.
Review additional materials, strategies
regarding settlement parameters.

Continued review of new financial information,
settlement strategies.

Communications with Attorney Sheatsley
regarding interview of K. Ellison regarding
questions on Keilman’s role in Direct Air.
Continued analysis, devise strategies regarding
settlement, litigation, tax lien issues.

Confer with Attorney Murphy regarding financial
information, discovery and resolution issues
and strategies (.3); review additional
information from Attorney Madoff (.2).
Preparation for and telephone call with K.
Ellison and Attorney Sheatsley regarding B.
Keilman’s role as CFO, involvement with
fraudulent conduct and loans to Direct Air.
Review additional financial information from
Attorney Madoff; evaluate settlement with the
Trustee; communications with Attorney Madoff
regarding extension of pending adversary
process deadlines.

Continued attention to settlement, objection
issues and strategies.

Draft motion to extend opposition deadlines on
the Defendant’s motions and to continue the
hearing date on all pending motions;
communications with Attorney Madoff regarding
the same. .

Continue review of financial materials,
strategies for settlement, further discovery.
Review status of matter and Court’s Order
regarding dismissal and withdrawal of
reference.

Continue review of financial and defense

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Joseph H. Baldiga, Chapter 7 Trustee
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materials and issues, craft and send
counterproposal to Attorney Madoff.

Analyze IRS claim on R. Keilman and IRS’
enforcement options; strategy with Trustee
regarding settlement with R. Keilman; review
further settlement offer to R. Keilman.
Strategy regarding tax consequences and IRS
recovery options for Keilman’s responsibility
for Direct Air taxes.

Continue review of defenses, financial
materials, response strategies regarding
dismissal and reference motions, and devise
settlement strategies.

Review open settlement issues, next steps if no
resolution.

Review status of settlement efforts.

Review open settlement, pretrial issues, next
steps in light of no response from Attorney
Madoff.

Review memoranda regarding case status and
negotiations.

Continued negotiations with Attorney Madoff
(.3) and address open issues, deadlines
regarding responses to pretrial motion (.2).
Review status of case/update litigation control
sheet accordingly.

Review memoranda regarding settlement
negotiations,

Review Madoff counteroffer, devise response to
same.

Further analysis regarding defenses, settlement
counteroffer, response strategy.

Continued negotiations with Attorney Madoff and
related assessment of defenses, assets,
competing claims.

Further settlement negotiations and evaluation
of the parties’ settlement positions with the
Trustee.

Review settlement offer from Atty. Madoff.
Evaluate latest counteroffer from Attorney
Madoff and devise response strategies.
Continued negotiations, review open discovery
issues.

Craft counterproposal to Attorney Madoff,

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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further analysis regarding constructive
trust/continuing concealment (.6), lengthy call
with Attorney Madoff (.3).

Review draft Amended Complaint; edit and
further draft Motion to Amend Complaint and
Certain Pre-Trial Order Deadlines.

Evaluation of further settlement discussions
and positions with Attorney Madoff. /
Continued negotiations with Attorney Madoff via
calls and emails and make counteroffer, assess
litigation issues and strategies and next steps
if no settlement.

Analysis of potential settlement; consider
options related to further negotiations.
Review further settlement discussions and
strategy regarding settlement position with R.
Keilman.

Strategy regarding additional settlement
payment trigger options based on B. Keilman
financials.

Review memoranda regarding settlement
negotiations.

Continued negotiations with Attorney Madoff,
reach tentative agreement (.6), related emails
with same and Mr. Jalbert (.3).

Review memorandum regarding status of
negotiation.

Review memorandum regarding settlement.

Assist with efiling of assented-to motion to
further extend deadline to object to motion to
dismiss/continue hearing; review Bankruptcy
Court's suggestion regarding separate filings.
Draft Motion to Extend Deadlines; ,
communications with Attorney Madoff regarding
further extending pending motion dates while
settlement pending; attend to filing Motion to
Extend Deadlines.

Strategize regarding Response to Mr. Keilman’s
extension motion (.1); assist with mechanics of
pleading and proposed Order (.1).

Continued negotiations with Attorney Madoff
(.2), analysis, strategies regarding tax
issues, extension and pretrial issues (.3).
Review open settlement issues, drafting and

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Page190

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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release strategies.

Lengthy continued negotiations with Attorney
Madoff regarding possible settlement (calls and
emails), review additional transfer materials,
possible defense, response grounds regarding
preference, dismissal motions (2.1); related
emails with Mr. Jalbert regarding tax
assessment trigger, issues (.3).
Communications with Attorney Madoff regarding
terms of settlement, including trigger for
additional payment based on R. Keilman’s tax
liability; review details of Direct Air's tax
liability for which R. Keilman has personal
responsibility.

Strategize regarding settlement and steps to
address.

Continue negotiations with Attorney Madoff
(.3), related emails with Ms. Jalbert (.2);
assess additional grounds for opposition to
dismissal, reference motions (.3).

Continued negotiations with Attorney Madoff
(.3); assess deadlines, strategies regarding
responses to dismissal, reference motions (.3).
Continued settlement emails with Attorney
Madoff.

Continued negotiations with Attorney Madoff and
reach settlement (.4); attention to drafting,
approval considerations (.2).

Review status of case and update control chart
accordingly.

Review final settlement terms.

Review revisions to updated control chart.
Review open issues, next steps in recovery
action and strategies for resolution.

Analyze IRS’ process for "assessment" of taxes
for use in B. Kielman settlement.

Draft Motion to Approve Stipulation and
Stipulation of Settlement with B. Keilman.
Continued revisions to settlement materials,
attention to approval basis.

Further draft Stipulation of Settlement and
Notice to Approve Stipulation with R. Keilman.
Follow-up with Attorney Madoff regarding
settlement documents.

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Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee

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Review correspondence from Attorney Madoff
regarding draft Stipulation of Settlement;
review IRS paperwork regarding Direct Air’s
trust fund taxes and intention to assess on
founding members; review IRS assessment process
and strategy regarding alternative definition
of assessment for Stipulation of Settlement.
Discussions related to "assessment" and
research on statute of limitations related to
assessment.

Evaluate Attorney Madoff comments to proposed
settlement agreement, devise response
strategies.

Phone call with C. Jalbert regarding assessed
taxes.

Phone call with Attorney Madoff regarding
issues with definition of "assessed" in
Stipulation of Settlement; discuss financial
information to include in Motion to Approve.
Strategize regarding settlement and grounds for
approval of same.

Further emails regarding settlement, release
terms.

Continued attention to settlement terms,
approval strategies, devise response to Madoff
comments, review additional asset, liability
materials.

Review information from Attorney Madoff
regarding settlement.

Continued attention to settlement terms and
strategies and response to Attorney Madoff
(.3); review next steps if no settlement
regarding oppositions, grounds (.2).

Draft response to Attorney Madoff regarding
definition of "assess" in Stipulation with
Keilman.

Continued negotiations with Attorney Madoff
regarding settlement terms (.6); review next
steps, deadlines, opposition grounds if no
settlement (.3).

Continued negotiations with Attorney Madoff.
Further negotiations with Attorney Madoff (.1);
review next steps in litigation, oppositions
(.1).

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Review status of settlement and next steps if
no settlement.

Research and analysis regarding IPD defense,
dismissal and reference motions (1.1);
strategize with Attorney Murphy regarding
responses to same (.3).

Review Motion to Withdraw the Reference.
Analyze reference, dismissal motions, devise
response strategies, memos with litigation team
regarding same.

Strategy regarding opposing and partially
stipulating to certain relief in Keilman’s
pending motions.

Review open recovery issues, next steps.
Continued strategies regarding responses to
reference and dismissal motions.
Communications with Attorney Madoff regarding
B. Keilman’s pending Motions.

Continue analysis, research, strategizing with
litigation counsel regarding responses to
reference, dismissal motions.

Research law in opposition to Defendant’s
Motion to Withdraw the Reference and Motion to
Dismiss.

Review and revise responses to reference,

dismissal motions including review of case

materials and related research, analysis (1.6),
strategize with Attorney Murphy regarding
discovery, recovery issues (.3).

Review adversary proceeding and main case
dockets and update litigation control sheet
accordingly. :

Research and analyze case law in support of
opposition to Defendant’s Motion to Dismiss and
Motion to Withdraw the Reference; outline and
draft arguments for opposition motions.

Further analysis, document review regarding
recovery issues.

Review open dismissal, injunction issues,
strategies and related Madoff emails.

Telephone call (x2) to case administrator to
confirm hearing on preliminary injunction.
Communications with Attorney Madoff regarding
status of hearing of Trustee’s Application for

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

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Preliminary Injunction and impact of B.
Keilman’s arguments in his Motion to Dismiss on
existing Temporary Restraining Order.
Continued negotiations regarding settlement
(.3); review District Court notice,
implications and strategies for 10/1 dismissal
hearing (.3).

Review U.S. District Court docket and next
steps in the litigation.

Strategy regarding further settlement offer to
B. Keilman.

Review status of negotiations.

Conference with Attorney Murphy regarding
discovery, litigation and resolution issues and
strategies.

Strategize regarding renewed settlement offer.
Continued negotiations with Attorney Rafferty
and review underlying case materials.
Evaluation of B. Keilman’s counteroffer.
Review memoranda between Trustee and counsel
regarding settlement negotiations.

Discussion related to calculation of tax
payments.

Discussion related to settlement and payment of
tax liability.

Continued negotiations with Attorney Rafferty
(.6) and review related defense, tax issues and
materials (.3).

Analysis of settlement communications and
furhter settlement terms from Attorney
Rafferty.

Continued negotiations with Attorney Rafferty,
reach settlement, and devise related approval
strategies.

Review further settlement communications;
review final offer terms with Trustee.

Review additional settlement terms, release
issues and approval strategies.

Review timing considerations for settlement.
Strategize regarding structure and timing of
settlement in Bankruptcy Court.

Continue review of open settlement issues,
related release requirements.

Draft Stipulation of Settlement and Motion to

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15008 Joseph H. Baldiga, Chapter 7 Trustee |
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Approve Stipulation.

Continued attention to release, payment issues.
Revise settlement agreement and related
approval pleadings and review underlying
settlement materials (1.1); strategies to
address pending discovery, hearing issues (.2).
Telephone call to case administrator to
determine day of week that motions are heard by
Judge Hoffman.

Assist with strategy for modifying TRO to
permit withdrawal of settlement funds.

Edit Stipulation of Settlement and Motion to
Approve Stipulation; communications with
Attorney Rafferty regarding timing for review
and filing the same; review timing of hearings
and funding settlement.

Review open settlement issues and related
approval, timing issues,

Edits to Stipulation of Settlement; Motion to
Approve Stipulation and Motion to Modify
Temporary Restraining Order; communications
with Attorney Rafferty regarding the same,
Review additional hearing, settlement issues
and strategies, related motion, emails from
defendant’s counsel.

Review defendant’s draft Motion to Continue
hearing on defendant's Motion to Dismiss.
Continued negotiations regarding POA request
and related tax issues, funding and release
issues.

Track order allowing continuance of hearing on
motion to dismiss; strategy regarding filing of
settlement pleadings; calendar ahead regarding
deadline for filing settlement pleading.
Review correspondence from Attorney Rafferty
regarding access to Debtor’s tax information;
review proposed IRS Power of Attorney Form;
strategy regarding access to grant to B.
Keilman; further communications with Attorney
Rafferty regarding other terms of the
settlement.

Continued attention to open settlement, POA
terms.

Review defendant comments to settlement

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agreement and related emails with Attorney
Murphy.

Continued revisions, negotiations regarding
settlement terms, related research, review of
financial information regarding approval
grounds.

Strategy regarding proposed settlement terms
with the Trustee; phone call with Attorney -
Rafferty; further strategy regarding settlement
terms. ,

Strategize about format of Stipulation and
representations by Mrs. Keilman.

Review litigation, settlement status and next
steps.

Review revised POA and settlement agreement,
underlying release and funding issues, and
devise strategies to resolve impediments.

Edit Stipulation of Settlement and IRS form to
access debtor’s tax information.

Review additional settlement, release issues,
related emails with Attorney Murphy regarding
resolution strategies.

Review open release, settlement issues, next
steps to resolve.
Review additional revisions to stipulation, -
related release and POA issues.

Edits to Stipulation of Settlement based on
revised settlement terms; review Attorney
Rafferty’s further edits to IRS POA form.
Review IRS correspondence regarding
authorization.

Review Rafferty issues and steps to address.
Communications with Attorney Rafferty regarding
changes to the Stipulation of Settlement.
Review of Power of Attorney (IRS 4868) as it
relates to withholding taxes.

Multiple emails from Attorney Rafferty
regarding settlement revisions, support.
Communications with Attorney Rafferty regarding
qualifying language regarding financial
representations of the Keilmans.

Continued Rafferty emails regarding settlement
issues and support, review approval
implications. ,

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Joseph H. Baldiga,

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Invoice Number

Chapter 7 Trustee

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Continued attention to revisions, related tax
and release issues, support for approval.
Assist with efiling procedures/logistics in
preparation of filing settlement pleadings.
Update litigation control chart.

Edits to Stipulation of Settlement;
communications with counsel regarding
completing settlement documents.

Review, revise settlement motion, review
underlying release, approval issues, emails
with Attorney Murphy.

Draft motion to limit notice and certificate of
service; review and revise same; determine
service list and review Local Rules as to
declaration regarding electronic filing.
Complete Stipulation of Settlement with the
Keilmans and attend to filing Motion to Approve
the same.

Review open issues regarding settlement, review
final form of agreement, approval pleadings.
Assist and follow up with efiling/service of
settlement pleadings.

Attend to preparation of Motion to Limit
Service and filing all settlement documents for
approval. ,
Attention to preparation of settlement approval
documents, including memoranda regarding same
(.2); assist with service issues (.1).

Review and execute Stipulation, including to
assist with preparation of exhibits (.4);
review, revise, and compile Motion to Approve
Stipulation, proposed Order, Motion to Limit
Notice, and Certificate of Service and attend
to filing same (.9).

Track order allowing motion to limit notice.
Update preference chart as to current
status/deadlines.

Review memorandum from Atty. Rafferty regarding
settlement hearing, and consider Bankruptcy
Court procedures related to same.

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Attorney Summary

Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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Emails with Attorney Greenberg (Ober Kaler)
regarding status of response (.1).

Confirm receipt of Ober Kaler response and
update chart to reflect.

Review and assess Ober Kaler response including
OCB and new value defenses, review and assess
relevant invoices, re-calculate new value using
2 different methods to reflect invoice and
service dates, develop recommendations for
Trustee, and prepare memorandum to Trustee
regarding same (1.8).

Emails with Attorney Greenberg regarding status
of Ober Kaler response and update chart
regarding same (.3)

Review email from Attorney Greenberg (Ober
Kaler) regarding status of preference response
(.1).

Confirm no issue with separate document
subpoena to Ober Kaler, then email Attorney
Greenberg to follow up on Ober Kaler response
(.4).

Review status of Ober Kaler preference demand
and discuss same with Trustee (.2); email
Attorney Raffery with preference information
(.1);. emails with Attorney Greenberg and
Trustee regarding status of Ober Kaler’s
response (.2).

Emails with Attorney Greenberg regarding Ober
preference matters.

Review emails between Trustee and Attorney
Greenberg regarding Ober Kaler preference

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Joseph H. Baldiga,

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Page198

Invoice Number ******

Chapter 7 Trustee

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response.
Further preference review (.2), related emails
with Attorney Raftery regarding Ober defenses
(.2).

Review preliminary response from Attorney
Rafferty regarding Ober Kaler settlement offer
(.1).

Emails with Ober Kaler counsel to follow-up on
response (.1).

Review and track email from counsel to Ober
Kaler attaching backup for response (.1).
Review and assess new backup provided by Ober
Kaler, including to correlate new bill history
with previously-provided invoices (.6) and
discuss value of same with Trustee (.1).

Draft response to Ober Kaler regarding ordinary
course defense (.5) and update chart to reflect
(.1).

(Ober) Review response, proposal and assess and
respond to same with final counteroffer, and
review related materials.

Review, assess and track preference
counteroffer portion of email from Ober Kaler
(.2), assist with Trustee’s assessment of same
(.1) and review Trustee’s email in response and
update chart to reflect new deadline (.1).
Review and track response from Attorney
Greenberg (Ober Kaler) with renewed proposal.
Review and analyze new defenses from Ober
Kaler, including invoices and 2-matter payment
history (1.4).

Develop potential counteroffer for Ober Kaler
and draft memorandum to Trustee providing
analysis of same (.9), consider Trustee's
response (.1). :
Communications with Attorney Rafferty and edits
to proposed Stipulation regarding Ober Kaler’s
production of documents.

Develop Ober Kaler counteroffer and draft
response and counteroffer, including summary of
analysis.

Implement Trustee’s suggested edits into Ober
Kaler email and send same to Attorney Greenberg
(.2); update chart regarding same (.1).

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee

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Draft complaint and cover sheet and
review/revise; on-line search of Maryland
Secretary of State web-site as to current
corporate information of defendant; attend to
conflict check.

Prepare file for Complaint.

Receipt and review of back-up information from
accountant; revise complaint and exhibits.
Review draft Complaint v. Ober Kaler, including
review of prior analysis and review of
corresponding exhibits (.4); finalize draft
Complaint to send to defendant (.1).

Review next steps to address draft Complaints
and corresponding negotiations. ,

Finalize Complaint and email same to Atty.
Greenberg with renewed settlement offer.

Track settlement by trustee.

Review emails between Trustee and Atty.
Greenberg (Ober Kaler) regarding settlement of
preference matter.

Review file information/demand; draft
stipulation of settlement and tolling
agreement; review and revise all.

Emails with Atty. Greenberg (Ober Kaler) )
regarding Stipulation and funds (.1).

Draft approval motion, motion to limit and
certificate of service for all; review/confirm
service list.

Confirm receipt of settlement check and follow
up regarding settlement.

Review status of Ober Kaler Stipulation (.1);
consider exclusions to Motion to Limit Notice
(.1).

Review and revise Stipulation approval package
for Ober Kaler, including Settlement Agreement,
approval motion, Tolling Agreement, Motion to
Limit Notice and Certificate of Service (.6)
and email Stipulation and Tolling Agreement to
Atty. Greenberg (.2).

Review electronic mails from J. Greenberg to
trustee’s counsel regarding proposed settlement
agreement and format of same.

Track signed Tolling Agreement.

Review local Bankruptcy Rules in response to

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

(Southern Sky Air & Tours, LLC)

Ober Kaler’s request for a
differently-formatted Settlement Agreement (.2)
and draft response to Ober Kaler regarding same
(.1); consider Ober Kaler’s request to modify
releases in Settlement Agreement and draft
memoranda to Trustee regarding same (.3); email
Atty. Greenberg regarding Stipulation, releases
and Tolling Agreement (.2); review email from
Atty. Greenberg regarding Stipulation,
releases, second Tolling Agreement (.1); revise
Stipulation and associated settlement documents
consistent with Ober Kaler’s request to change
title and releases (.4).

Review and edit Settlement package (.2);
finalize settlement package, confer with
Trustee about appearance issues, and email
Atty. Greenberg regarding same (.4).

Email Atty. Greenberg to follow up regarding
outstanding Settlement Agreement.

Track response from J. Greenberg as to proposed
agreement; calendar ahead.

Track follow-up with opposing counsel as to
status of settlement agreement.

Review email from Atty. Greenberg regarding
settlement status (.1); review and assess Ober
Kaler’s proposed edits to Stipulation and
memorandum to Trustee regarding same (.2).
Review and revise revisions to settlement
agreement.

Follow up regarding Ober Kaler Stipulation and
revisions (.1); implement edits into updated
Settlement Agreement (.2).

Email Atty. Greenberg with revised Settlement
Agreement (.2); revise approval package to be
consistent with edits to Settlement Agreement
(.2); update chart regarding same (.1).

Review revised settlement package and further
edit same.

Review email from Atty. Greenberg regarding
settlement status.

Prepare Stipulation approval package for
filing.

Track receipt of executed settlement agreement.
Review next steps to finalize settlement and

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

(Southern Sky Air & Tours; LLC)

obtain approval (.1); execute approval package
for e-filing and one full Stipulation to
Atty. Greenberg (.1).

Assist with etiling and service of settlement
pleadings.

Attention to filing of Stipulation pleadings.
(Ober Kaler) Track order allowing settlement;
forward copy of order to Attorney Greenberg via
email; confirm all issues resolved and update
control chart accordingly.

Review Court's Order approving settlement.
Attention to matter wrap-up.

TOTAL

TASK: 0017 Adversary Proceeding

Attorney

Summary

290 goneil Gina B. O’Neil
274 kmdellec Kimberly M. De

TYPE 0017

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11/02/12

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09/16/13
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Hours Value Rate
4.70 1,196.50 254.57
5.20 962.00 185.00
9.90 - 2,158.50

Review email from Attorney Holmes (Wyvern

Hotel), assess asserted OCB defense, and update

chart (.2).

Draft potential response and settlement offer
to Wyvern Hotel and identify issues to review
with Trustee (.6).

Review next steps and Trustee comments
regarding Wyvern Hotel.

Email counterproposals to Wyvern Hotel counsel
and update chart regarding same (.1).

‘Review Wyvern Hotel preference status and email
Attorney Holmes to follow up (.1).

Draft complaint and cover sheet; on-line search
of Florida Department of State as to current
corporate information; attend to conflict
check; review/revise complaint.

Prepare file for Complaint.

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0.10 25.50
0.30 55.50
0.10 25.50
0.10 25.50
21.90 5,387.00
Hours Value
0.20 49.00
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Case 12-40944 Doc 626-4 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

MIRICK, O’ CONNELL

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

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Receipt and review of back-up information from
accountant; revise.complaint and exhibits.
Review and revise Complaint, including to add
proof of claim information.

Review next steps to address draft Complaints
and corresponding negotiations.

Email draft Complaint to Attorney Holmes,
update chart, and track new response deadline.
Review email offer from Attorney Holmes.

Review file information; draft stipulation,
motion to approve, motion to limit and
certificate of service for all; review/revise
all and confirm service list (x2).

Review and assess settlement offer (.1); confer
with Trustee regarding same (.1).

Email Attorney Holmes regarding acceptance of
settlement offer (.1); attend to preparation of
Stipulation and approval documents (.1).
Attention to preparation of settlement
pleadings (.1); review and revise Stipulation
(.1); review and revise Motion to Approve (.1);
review and revise Motion to Limit Notice,
Certificate of Service and service list (.1).
Track transmittal of draft settlement agreement
to Attorney Holmes; calendar ahead for receipt.
Further update and finalize settlement package
for defendant's review (.4); email Attorney
Holmes with Wyvern Settlement Stipulation (.1);
update chart to reflect (.1).

Update chart regarding Wyvern Hotel settlement.
Review emails, track settlement and calendar
ahead.

Email Atty. Holmes to follow up on Stipulation
status.

Review email from Atty. Holmes regarding status
of Settlement Agreement and funds.

Attention to preparation of Tolling Agreement
based on status of Stipulation.

Prepare tolling agreement and forward to
Attorney Holmes via electronic mail.

Follow up regarding Tolling Agreement in
context of pending settlement (.1); review
emails regarding same (.1).

Review memoranda regarding Tolling Agreement

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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03/18/14 kmdellec 0017

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04/14/14 goneil 0017

TYPE 0017

and.consider logistics associated with tracking

TASK: 0018 Adversary Proceeding

Attorney Summary

139 JHB Joseph H. Baldiga
290 goneil Gina B. O'Neil
274 kmdellec Kimberly M. De
TYPE 0018 TOTAL

Time Detail

12/06/13 kmdellec 0018

12/06/13 goneil 0018
12/10/13 kmdellec 0018

12/27/13 goneil 0018

12/27/13 goneil 0018

same,
Track signed Tolling Agreement. 0.10 18.50
Finalize settlement pleadings for 0.30 55.50
efiling/service; update control sheet.
Confirm receipt of settlement check, package 0.30 76.50
Stipulation pleadings for filing, and update
chart to reflect.
Track/confirm order regarding motion to limit 0.10 18.50
notice.
Forward copy of approval order to Attorney 0.20 37.00
Holmes via electronic mail; update control
sheet accordingly.
Follow up regarding settlement approval. 0.10 25.50
Follow up regarding finalizing settlement and 0.10 25.50
Matter.
TOTAL 9.90 2,158.50
Hours Value Rate
0.40 156.00 390.00
4.80 1,224.00 255.00
4.80 888.00 185.00
10.00 2,268.00
Hours Value
Draft complaint and cover sheet; on-line search 1.50 277.50
of New York Department of State as to current
corporate information; attend to conflict
check; review/revise complaint.
Prepare file for Complaint. 0.10 25.50
Receipt and review of back-up information from 0.60 111.00
accountant; revise complaint and exhibits.
Review next steps to address draft Complaints 0.10 25.50
and corresponding negotiations.
Review and revise Complaint, including to 0.80 204.00

review exhibits and to reflect proof'of claim
information (.5); draft letter to Attorney
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MIRICK, O’ CONNELL

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Joseph H. Baldiga,
Direct Air (Southern Sky Air & Tours, LLC)

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Invoice Number ******

Chapter 7 Trustee

Finucane enclosing draft Complaint and
discussing potential settlement terms (.3).
Review and revise draft Complaint and cover
letter to Attorney Finucane.

Finalize letter to Attorney Finucane regarding
draft Complaint (.1); edit and update chart
regarding same (.1).

Review open settlement issues, terms and
related discovery strategies.

Review materials in preparation for call with
Attorney Finucane (.1); telephone calls with
Attorney Finucane regarding claim allowance and
possible settlement (.3); review Proof of Claim
filed by the Port Authority and develop
potential settlement terms to include claim
allowance (.3); email M. Finucane regarding
terms of settlement (.4).

Emails with Attorney Finucane regarding
settlement terms.

Review negotiations regarding possible
settlement, complaint extension.

Emails with Attorney Finucane regarding
settlement status and extension of deadline
(.2); update chart regarding same (.1).

Draft stipulation, motion to approve, motion to
limit and certificate of service; review and
revise (x2); update service list.

Emails with Attorney Finucane regarding
settlement agreement (.1); compile materials
necessary for settlement and attend to
preparation of same (.2):

Update control sheet as to draft settlement
agreement and forward to opposing counsel for
review /signature;. calendar ahead.

Review and further revise complete settlement
package and cover letter (.2); finalize
settlement package and send to Attorney
Finucane for review (.2); additional
correspondence regarding same (.1).

Emails with Attorney Finucane regarding
Settlement Agreement.

Confirm receipt of signed settlement agreement,
execute same, and attend to logistics of
finalizing settlement and triggering payment.

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MIRICK, O’ CONNELL Page205
Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

02/04/14 kmdellec 0018 Finalize settlement pleadings for efiling and 0.20 37.00
: service.
02/04/14 goneil 0018 Revise and finalize cover letter to Atty. 0.40 102.00

Finucane (.1); finalize settlement package for
filing (.2); update chart to reflect settlement

(.1).
02/06/14 kmdellec 0018 Track order allowing motion to limit notice. 0.10 18.50
02/07/14 goneil 0018 Emails with Atty. Finucane regarding tax ID. 0.10 25.50
02/23/14 goneil 0018 Review status of Stipulation and payment and 0.20 51.00

email Atty. Finucane regarding status of
payment; update chart regarding same.

02/24/14 goneil 0018 Review email from Atty. Finucane regarding 0.10 25.50
payment status.

02/26/14 kmdellec 0018 Attention to receipt/deposit of settlement 0.10 18.50
funds.

02/26/14 goneil 0018 Review memoranda confirming receipt of 0.10 25.50
settlement check.

03/03/14 kmdellec 0018 Track order allowing stipulation of settlement 0.10 18.50

and update control sheet accordingly.
TYPE 0018 TOTAL 10.00 2,268.00

TASK: 0019 Adversary Proceeding

Attorney Summary Hours Value Rate

139 JHB Joseph H. Baldiga 8.50 3,315.00 390.00

290 goneil Gina B. O'Neil 2.10 535.50 255.00

281 jemurphy Jessica E. Mur 23.10 5,890.50 255.00

162 RBG Robert B. Gibbons 0.20 75.00 375.00

274 kmdellec Kimberly M. De 4.80 888.00 185.00

TYPE 0019 TOTAL 38.70 10,704.00

Time Detail Hours Value
01/15/14 JHB 0019 First review of Merrick complaint, devise 0.40 156.00

response strategies, and related emails with
Attorneys Reier, Otenti.

01/15/14 RBG 0019 Strategy planning regarding pleadings filed by 0.20 75.00
Merrick,
01/15/14 jemurphy 0019 Review complaint for Merrick’s Declaratory 2.00 510.00

Judgment action against the Trustee; strategy
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Joseph H. Baldiga,
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Invoice Number ******

Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

regarding initial response to complaint and
strategy in the litigation; begin legal
research on Merrick’s class action and who owns
them.

Review Merrick’s Complaint for Declaratory
Judgment.

Revise answer to MB complaint and review
underlying complaint, claim materials.

Draft counterclaim and revise Answer to Merrick
Bank’s Complaint; analyze affirmative defenses.
Assist with Answer and counterclaims regarding
Merrick’s Complaint.

Further attention to answer (Merrick
complaint).

Revise Answer and Counterclaim.

Telephone call to case administrator (x1) and
S. Smith (x2) to add trustee to ECF recipient
list.

Prepare notice of appearance for J. Baldiga;
add adversary proceeding to cases for G. O'Neil
to monitor.

Strategy regarding setting a Rule 16(b)
conference with the Court and Merrick.

Review memoranda regarding Merrick Complaint
and Trustee’s Answer.

Review Merrick’s answer to the Trustee’s
counterclaims alleging breach of the automatic
stay.

Review MB answer, pretrial order and issues
(.3); review issues and strategies regarding
report, 2/25 DOT meeting (.2).

Review MB motion for judgment, related memo;
research and analysis regarding response
strategies and confer with litigation team.
Review pleadings regarding Merrick claims and
memoranda regarding potential response.
Receipt of hearing notice on Merrick’s motion
for judgment and track same.

Review memoranda with Trustee regarding
response to Merrick’s standing issues.

Call from Attorney Gurfein. regarding discovery
issues, litigation analysis (.4), related
emails regarding possible resolution (.2).
Strategy with the Trustee regarding possible

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Invoice Number ******

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Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

mediation of the dispute with Merrick; discuss
merits of the parties’ positions.

0019 Communications with Attorney Gurfein regarding
26(£) conference,

0019 Initial review of Merrick’s Motion for
Judgment on the Pleadings.

0019 Review Merrick Complaint and analyse discovery
necessary; prepare for Rule 26(f) conference.

0019 Initial call with Attorney Gurfein regarding

Rule 26(f) issues; further preparation for Rule
26(f£) conference.

0019 Conduct Rule 26(f) conference with Attorney
Gurfein.

0019 Strategy regarding next steps in the
litigation. ,

0019 Strategize regarding negotiations with Merrick.

0019 Review and analyze Merrick Bank’s arguments in
its Motion for Judgment on the Pleadings.

0019 Settlement call with Attorney Gurfein and reach

settlement (.3), review related drafting,
litigation issues (.2); lengthy call from
Attorney Sternklar regarding same (.4).

0019 Analyze Merrick’'s settlement counter offer.

0019 - Conference call with Attorney Gurfein and
Attorney Regan regarding settlement; plan
Motion to Approve Settlement.

0019 Review and revise settlement agreement and
release from Attorney Gurfein (.2), emails with
same regarding approval, litigation issues
(.2).

0019 Review Assignment and Settlement Agreement
prepared by Merrick; begin to prepare Motion to
Approve Settlement.

0019 Review memoranda and background regarding
settlement and approval of same.

0019 Review Settlement Agreement.

0019 Edit and continue drafting Motion to Approve
Assignment and Settlement Agreement.

0019 Emails with Attorney Gurfein regarding open
settlement issues.

0019 Further draft Motion to Approve Assignment and
Settlement regarding VNB claims.

0019 Revise settlement agreement and related

approval motion and related emails with

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee

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(Southern Sky Air & Tours, LLC)

Attorneys Gurfein, Regan.

Edits to Motion to Approve Settlement.

Review settlement agreement/approval motion and
attend to exhibits for same; prepare motion to
limit notice and certificate of service; review
and revised same (x2); review service list;
coordinate efiling/service and calendar ahead
for receipt of order.

Final edits to Motion to Approve settlement.
Track order allowing motion to limit notice
regarding Merrick Bank settlement.

Attend to preparation of Motion to Continue
case deadlines while Motion to Approve
Settlement is pending.

Draft assented-to motion to continue certain
deadlines and review/revise same.

Edits to Motion to Continue Deadlines;
communications with Attorney Regan and Attorney
Gurfein regarding Merrick’s assets to the same.
Final edits to Motion to Extend Deadlines;
attend to filing/service.

Review status of case and next steps after
Court's order on Motion to Continue Deadlines
and pending Motion to Approve Settlement.
Communications with Atotrney Gurfein regarding
Merrick's service of VNB complaint.

Review new pleadings and settlement regarding
Merrick claims.

Call from Attorney Sternklar regarding
settlement, possible revisions to proposed
order, review same.

Review revisions to proposed order from
Attorney Sternklar, related emails with
Attorneys Gurfein, Sternklar.

Emails with Attorney Sternklar, Court regarding
revised order, and review form of order.

Review VNB’s proposed order regarding the
Trustee and Merrick’s settlement regarding VNB
claims; phone call with Attorney Sternklar
regarding filing the same.

Review Attorney Sternklar’s correspondence with
the Court regarding a proposed modification to
the Trustee & Merrick’s settlement of VNB
claims.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee

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(Southern Sky Air & Tours, LLC)

Strategize regarding preparation and filing of
Notice of Revised Proposed Order; assist with
logistics of providing Bankruptcy Court with
same.

Review Attorney McGee’s proposal that the
Trustee & Merrick’s settlement address
offsetting Merrick’s claim in Direct Air’s
bankruptcy by virtue of any recovery by Merrick
in the Merrick v. VNB suit.

Review and respond to McGee question assignment
agreement with MB.

Analyze suggestion for an agreement with
Merrick to offset recovery by Merrick in the
Direct Air bankruptcy based on any recovery in
the Merrick v. VNB action.

Review and analyze Merrick’s amended complaint,
inlcuding Trustee’s assigned claims.

Review, comment on amended complaint.

Review status of Trustee’s motion to approve
settlement with Merrick Bank; communications
with Attorney Gurfein regarding the same.
Emails with Attorney McGee regarding MB issues.
Telephone call to and from Madelyn at
Bankruptcy Court regarding status of order
regarding settlement motion; calendar regarding
follow-up.
Review status of the pending Motion to Approve
Settlement; update Attorney Gurfein.

Strategy regarding DOT’s request for Direct Air
documents.

Communications with Attorney Regan regarding
Direct Air’s airport credit card machines.
Communications with Attorney Gurfein and
Attorney Aieta regarding Merrick’s claims
against VNB and issues of timing between the
Merrick v. Trustee case and Merrick v. VNB
case.

Prepare certificate of service regarding notice
of hearing regarding motion to approve
settlement with Merrick Bank; confirm service
of same.

Review Court's Notice of Hearing on Motion to
Approve Settlement; notice hearing; review

VNB‘ s position on the proposed settlement and

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Invoice Number ******

Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

initial strategy regarding argument for
hearing. ,

Assist with service regarding hearing on
Merrick settlement motion.

Review MB pleadings in action v. VNB, upcoming
benchmarks.

Strategies, open issues for 5/8 hearing on VNB
claim assignment to MB.

Review DOT’s Motion to Appear Telephonically at
Trustee/Merrick settlement hearing; phone call
with A. Handel regarding DOT’s position on
Trustee/Merrick settlement.

Phone call with consumer regarding question on
hearing on Trustee/Merrick settlement.

Initial strategy regarding preparing for
hearing on Trustee’s Motion to Approve
Trustee/Merrick’s settlement; phone call with
Attorney Gurfein regarding Merrick’s litigation
plan for Merrick / VNB action; review Amex’s
prior limited objection to the settlement.
Assist with development of arguments for
Merrick Settlement Agreement hearing.

Final preparation of argument for hearing on
motion to approve settlement between Merrick
and the Trustee; attend hearing on Motion to
Approve Settlement in Worcester Bankruptcy
Court; review Court’s order approving
settlement.

Follow up regarding hearing on Merrick
settlement.

Draft stipulation of dismissal and certificate
of service; review all and confirm service list
on pacer docket.

Review and revise dismissal and review open
assignment, litigation issues.

Review/edit Stipulation of Dismissal.

Review pacer docket and update litigation
control sheet accordingly.

TOTAL

TASK: 0020 Adversary Proceeding

Attorney Summary

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Review conflict search results, electronic mail
to accountant to request back up documents.
Review demand and supporting documents; review
claims register to determine if claim filed by
defendant; draft adversary complaint and cover
sheet; review and revise same.

Review preference response from Aviation
Advantage (.1).

Review and evaluate Atty. Kushner (Aviation
Advantage) response, review Trustee’s response,
and update chart to reflect (.3).

Review background materials and research
subsequent transferee liability to determine
action v. "ASIG" (.6); memoranda with Trustee
regarding same (.3); review and revise
Complaint (.8).

Letter to defendant enclosing
complaint/summons; attention to revisions and
service of same.

Track answer deadline; attention to efiling of
certificate of service.

Review and edit Complaint (.2); attention to
filing same (.1).
Review, revise, and execute Certificate of
Service package regarding Complaint and
Summons.

Review emails from Atty. Kushner regarding
Complaint (.1) and follow up with Trustee
regarding same (.1).

Consider response to Atty. Kushner.

Consider additional amendments to Complaint.
Strategies regarding complaint amendments,
possible settlement; review related transfer,
defense materials.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Review all backup materials and consider
whether to withdraw any portion of Complaint
per defendant’s request, and research aircraft
charter status and escrow requirements in
connection with same.

Strategize regarding amendment to Complaint
(.1); confer with Trustee regarding same (.1).
Review backup materials and invoices in order
to assess new value defense and develop
potential settlement offer based on same (.8);
commence email to Atty. Kushner regarding
amending Complaint and potential resolution of
Grand Services Transfers (.4); research
ordinary course of business case law in order
to develop and augment same (.5).

Review and revise settlement proposal, assess
defenses.

Continue drafting email to Atty. Kushner
outlining ordinary course of business
information and proposing settlement, and
review ordinary course information in
connection with same (.9); email Trustee
regarding proposal and possible defenses (.1);
finalize email and send to Atty. Kushner (.1).
Strategize regarding contents and format of
amended Complaint. .

Prepare Amended Complaint (.3); finalize
Amended Complaint, with corresponding exhibits,
and execute same for filing (.3).

Revise adversary proceeding cover sheet and
prepare certificate of service and transmittal
letter; finalize all for e-filing and service.
Attention to revision of AP cover sheet based
on clerk's advice.
Review and execute AP Cover Sheet for Amended
Complaint.

Review counterproposal, devise response
strategies and review underlying defense
materials.

Review and evaluate email from Atty. Kushner
regarding settlement proposal (.2); attention
to filing of Amended Complaint (.1); review and
execute Certificate of Service (.1); memoranda
with Trustee about analysis of counteroffer

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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(.1).
Confer with Trustee regarding next steps.
Prepare updated New Value Analysis chart, in
order to evaluate offer (.4); evaluate
settlement offer, prepare email to Trustee with
new value analysis, recommendations, and
proposed response to Atty. Kushner (.8).

Edit and send Memorandum to Trustee regarding
counteroffer (.1); revise and send counteroffer
to Atty. Kusher (.1) and update chart to
reflect (.1). ,

Review and consider email from Atty. Kushner
with updated settlement offer (.1); confer with
Trustee regarding settlement (.1); prepare
materials for settlement pleadings (.3); email
Atty. Kushner with summary of settlement terms
(.2).

Track additional language for inclusion in
settlement agreement.

Track return of service.

Review proposed "no admission of liability"
language from Atty. Kushner.

Emails with Atty. Kushner regarding settlement.
Review emails between trustee and Attorney
Kushner; prepare assented-to motion to extend
answer deadline for filing prior to completion
of settlement pleadings.

Review emails with Atty. Kushner regarding
Answer deadline and settlement.

Review and revise Motion to Extend Answer
deadline (.2); finalize, execute, and attend to
filing same (.2).

Review file information; draft stipulation of
settlement, approval motion, motion to limit
notice and certificate of service; review and
revise all; review/revise service list.

Review and revise Settlement Agreement (.5),
Motion to Approve (.4), Motion to Limit Notice
(.1), and Certificate of Service (.1); review
package and finalize for counsel’s review (.1).
Review and forward draft stipulation to
Attorney Kushner via electronic mail for
review/signature.

Track response to Attorney Kushner regarding

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Invoice Number ******

Chapter 7 Trustee

(Southern Sky Air & Tours, LLC)

trustee’s limited release.

Emails with Atty. Kushner regarding releases
and settlement.

Review email from Atty. Kushner and prepare
Stipulation for filing.

Prepare settlement approval package.

Track efiling of settlement pleadings; update
control chart; assist with service.

Email Atty. Kushner with fully-executed
Stipulation (.1); prepare approval package for
filing and update chart (.1); emails with Atty.
Kushner about payment timing (.1); review
Court's docket entries regarding Stipulation
(.1).

Review multiple Sky King pleadings.

Confirm receipt of funds and update chart to
reflect.

Follow up regarding status of settlement
approval.

Review pacer docket and update litigation
control sheet accordingly.

Review Court’s Order approving Stipulation,
including dismissal terms (.2); email Atty.
Kushner (.1); update chart and attend to matter
wrap-up (.1).

Update control sheet regarding entry of
approval order; prepare notice of voluntary
dismissal and confirm service list; review and
revise.

Track dismissal deadline.

Emails with Attorney Kushner regarding closing
of Adversary Proceeding.

Track closure of adversary proceeding by
Bankruptcy Court and mail to Attorney Kushner
regarding same.

Follow up regarding dismissal of Adversary
Proceeding (.1); follow up regarding settlement
funds and anticipated timing for payment of
same (.1).

Review status of case/update litigation control
sheet accordingly.

Review status of case and update control chart
accordingly.

Review revisions to updated control chart.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Review Form 2 and update litigation control
chart as to settlement proceeds
received/expected.

TOTAL

TASK: 0021 Adversary Proceeding

Attorney

Summary

139 JHB Joseph H. Baldiga
290 goneil Gina B. O'Neil
255 cborourk Cori B. O’Rour
281 jemurphy Jessica E. Mur
274 kmdellec Kimberly M. De

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Strategize regarding format of Complaint and
counts associated with same (.1); strategize
regarding production of final numbers for
Complaint (.1).

Review final form of complaint, underlying
transfer materials, execute verification.
Prepare Declaration regarding electronic filing
regarding Tull & Ellison verified complaint and
assist with efiling same.

Attention to notice of emergency hearing
regarding preliminary injunction and notice of
same.

Attention to ECF notice for J. Baldiga and G.
O'Neil.

Review and attempt to address service issues of
adversary proceeding complaints against J. Tull
and the Ellisons with counsel.

Attend to service of TROs on J. Tull and the
Ellisons.

Review returned service on J. Tull and the
Ellisons; strategy regarding next steps to make
service; attend to obtaining alternative
address from USPS,

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Joseph H. Baldiga, Chapter 7 Trustee

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(Southern Sky Air & Tours, LUC)

Review service issues.

Strategy regarding alternate means to
investigate addresses and attempt service;
review court’s notice of returned mail to J.
Tull and the Ellisons.

Analyze service issues.

Review service issues; revise AP tracking
chart; strategy regarding acceptance/waiver of
service and draft same; compile service package
for forwarding to R. Boyd.

Phone calls with Reese Boyd regarding
settlement and extension of answer deadline for
J. Tull; review options for acceptance of
service and extension of answer deadline;
strategy regarding opportunity for and form of
J. Tull’s rebuttal to investigation report.
Assist with service issues and strategy
regarding potential settlements.

Edit Affidavit of Acceptance of Service of
complaint and preliminary injunction for Jd.
Tull; draft Declaration of Electronic Filing;
communications with Attorney Boyd regarding the
same.

Draft motion to continue answer deadline with
expedited determination and proposed order.
Draft summary of attempted service and service
issues with respect to J. Tull.

Communications with Attorney Boyd regarding
possible Tull settlement.

Attend to preparation of Amended Certificate of
Service and Motion to Extend Answer deadline
for J. Tull.

Assist with preparation of supplemental
certificate of service regarding service of
complaint and affidavit of acceptance of
service and efiling of same. ,

Initial settlement discussions with Attorney
Boyd (for J. Tull).

Communications with Attorney Boyd regarding
Tull’s settlement offer and supporting
financial information.

Analysis regarding offer, financial condition.
Review affidavit of Judy Tull; online research
regarding present address; review Denton County

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MIRICK, O'CONNELL Page217
Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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TX Registry of Deeds to determine property
owner.

Phone call with Attorney Boyd regarding Tull
settlement; review Tull Personal Financial
Statement and ownership of property associated
with Tull.

Negotiations regarding settlement with Attorney
Boyd, review underlying Complaint, financial
information.

Review correspondence from Attorney Boyd;
confirm answer deadline.

Review settlement discussions with the Trustee
and Attorney Boyd (for J. Tull); evaluate
settlement offers.

Strategize regarding settlement offer and
bankruptcy.

Review emails between Trustee and Atty. Boyd
regarding settlement negotiations.

Continue negotiations with Attorney Boyd and
reach settlement; review related documentation.
Review settlement communications from Attorney
Boyd; evaluate proposed settlement terms for J.
Tull; evaluate strength of overall settlement
offer and impact on claims against other
parties,

Review new settlement terms with Ms. Tull.
Review status of settlement and implications of
same on others’ settlement positions.

Outline and begin to draft Stipulation of
Settlement and Motion to Approve Settlement
with J. Tull.

Assist with preparation of settlement
pleadings.

Review first settlement payment from J. Tull
and communications with Attorney Boyd
confirming the same.

Revise settlement agreement, review underlying
complaint, transfer materials.

Draft agreement for judgment as to Judy Tull.
Further draft Stipulation of Settlement and
Motion to Approve Settlement for Tull
settlement. .

Final edits to Stipulation of Settlement and
Motion to Approve Settlement with J. Tull;

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee)

Direct Air (Southern Sky Air & Tours, LLC)

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draft Agreement for Judgment for J. Tull’s
execution; communications with Attorney Boyd
regarding execution and timing of the filing of
the same.

Review Boyd revisions to settlement agreement
and comment on same.

Review and response to Attorney Boyd’s proposed
edits to the Stipulation of Settlement with J.
Tull.

Review status of Tull settlement and answer.
Review final form of settlement agreement,
related payment issues.

Draft motion to approve settlement agreement
with J. Tull, with proposed order.

Continued attention to open settlement,
payment, extension issues, strategies if no
resolution, and review related emails,
discovery from opposing counsel.

Revise proposed settlement motion, review
related exchange with Attorney Boyd.

Edit and further draft Motion to Approve Tull
Settlement, including financial representations
(existing and additional) regarding Tull’s
household finances; identify additional
financial affirmations to be made by J. Tull
and process for doing so; communications with
Attorney Boyd regarding the same.

Draft motion to limit notice and certificate of
service regarding approval pleadings; review
and revise; review pacer and update service
list.

Review J. Tull statement regarding facts in the
Motion to Approve Settlement; attend to
preparation of Motion to Limit Notice of
Settlement.

Assist with efiling of settlement pleadings;
telephone call to Janet at Bankruptcy Court
regarding disregarded docket entry; update
control sheet.

Review Court docket; communications with
Attorney Boyd regarding settlement status.
Review pacer docket and update litigation
control sheet accordingly.

Telephone call with Attorney Boyd regarding

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Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

pending second and final J. Tull settlement
payment.

06/05/14 JHB 0021 Review open payment approval issues and emails. 0.20 78.00

06/05/14 jemurphy 0021 Review second J. Tull settlement payment; 0.10 25.50
communications with Attorney Boyd regarding the
same.

06/10/14 jemurphy 0021 Review court's order approving settlement with 0.30 76.50
J. Tull; attend to completing settlement.

06/24/14 kmdellec 0021 Review pacer docket as to certain 1.00 185.00
dates/deadlines; draft notice of dismissal as ,
to Judy Tull only; review and revise same;
confirm service list.

06/27/14 kmdellec 0021 Finalize notice of dismissal for 0.10 18.50
efiling/service.

06/27/14 jemurphy 0021 Review and attend to filing Voluntary Dismissal 0.10 25.50

of J. Tull.
06/30/14 kmdellec 0021 Review status of case/update litigation control 0.20 37.00
. sheet accordingly. ,

07/25/14 kmdellec 0021 Review status of case and update control chart 0.10 19.50
accordingly.

07/28/14 kmdellec 0021 Review revisions to updated control chart. 0.10 19.50

08/01/14 kmdellec 0021 Review Form 2 and update litigation control 0.10 19.50
chart as to settlement proceeds
received/expected.

TYPE 0021 TOTAL 27.60 6,972.00

TASK: 0022 Adversary Proceeding

Attorney Summary Hours Value Rate

139 JHB Joseph H. Baldiga 7.40 2,891.00 390.68

290 goneil Gina B. O'Neil 1.40 362.00 258.57

255 cbhorourk Cori B. O’Rour 3.50 665.00 190.00

281 jemurphy Jessica E. Mur 19.30 4,960.50 257.02

274 kmdellec Kimberly M. De 7.20 1,350.00 — 187.50

TYPE 0022 TOTAL 38.80 10,228.50

Time Detail Hours Value

03/03/14 goneil 0022 Strategize regarding format of Complaint and 0.20 51.00

counts associated with same (.1); strategize
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Joseph H. Baldiga,

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Chapter 7 Trustee

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regarding production of final numbers for
Complaint (.1).

Review final form of complaint, underlying
transfer materials, execute verification.
Review and attempt to address service issues of
adversary proceeding complaints against J. Tull
and the Ellisons with counsel.

Review returned service on J. Tull and the
Ellisons; strategy regarding next steps to make
service; attend to obtaining alternative
address from USPS.

Review service issues.

Strategic planning with Attorney Murphy
regarding alternate service.

Strategy regarding alternate means to
investigate addresses and attempt service;
review court’s notice of returned mail to J.
Tull and the Ellisons.

Analyze service issues.

Analyze service issues.

Review Motions for Admission Pro Hac Vice for
the Ellisons; strategy regarding impact of new
counsel and next steps.

Assist with assessment of pro hac motion and
service upon counsel based on same.

Review USPS address responses for the Ellisons
and J. Tull; strategy regarding next steps to
accomplish service or prepare motion for a late
service.

Phone call to Attorney Sheatsley regarding pro
hac motions and acceptance of service for
defendants.

Review service issues and revise AP tracking
chart.

Review service issues and revise AP tracking
chart. /

Assist with service issues and strategy
regarding potential settlements.

Edit Acceptance of Service pleadings.

Phone call from Attorney Boyd regarding
extending answer deadline and initial
settlement discussions; conference with Trustee
on Attorney Boyd’s request.

Phone call with Attorney Sheatsley regarding

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Invoice Number ******

Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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the claims against the Ellisons, extension of
their answers and initial settlement
discussions.

Phone call with Attorney Sheatsley regarding
the cases against the Ellisons, service and
deadlines for their answers.

Draft summary of attempted service and service
issues with respect to K. Ellison.
Communications with Attorney Sheatsley
regarding the Ellisons’ Answers and settlement.
Phone call with Attorney Sheatsley regarding
extension of Ellisons’ answer deadline.
Motion to Extend Answer Deadlines for J. Tull,
K. Ellison and S. Ellison.

Finalize certificate of service regarding
motion to extend and determine parties for
service.

Assist with preparation and efiling of motion
to extend answer deadline.

Assist with preparation and efiling of motion
to extend answer deadline.

Final edits to Motions to Extend Answer
Deadlines, Supplemental Certificates of Service
and Affidavits of Acceptance of Service for J.
Tull, K. Ellison and S. Ellison; confer with
respective counsel regarding execution and
filing of the same; prepare to file with the
Court; review Court’s endorsements on filed
motions and communications with respective
counsel regarding the same and next steps.
Strategy with Trustee regarding settlement
parameters for founding members.

Review the Ellisons’ draft Motion to Access
Radixx Data and financial records of the
Ellisons’ provided by Attorney Sheatsley; phone
call with Attorney Sheatsley regarding the
motion and settlement; begin to evaluate
settlement considerations based on the
Ellisons’‘ financials.

Continued review and assessment of defense
assertions, settlement proposals, and devise
response strategies.

Continued review and assessment of defense
assertions, settlement proposals, and devise

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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response strategies.

Initial evaluation of the Ellisons’ settlement
offer; draft memorandum to Trustee regarding
same,

Review Trustee’s memoranda regarding settlement
offer and next steps for response.

Prepare for settlement call; phone call with
Attorney Sheatsley and Attorney Collins
regarding settlement of the claims against the
Ellisons.

Review the Ellisons’ residential and property
ownership information from call with counsel.
Strategize regarding settlement offer and
saleable assets.

Continued negotiations, strategies, assessment
of defense.

Prepare for further settlement call; phone call
with Attorney Sheatsley and Attorney Collins
regarding settlement for the Ellisons; evaluate
settlement offer with the Trustee.

Continued analysis, strategies regarding
settlement negotiations, revise counteroffer.
Further strategy with Trustee regarding -
settlement with the Ellisons; draft
correspondence to counsel with settlement
counteroffer.

Continued settlement negotiations with
Attorneys for Ellisons, and review related
defense, transfer materials.

Communications with Attorney Sheatsley and
Attorney Collins regarding Trustee's settlement
position with respect to the Ellisons.
Continue negotiations for settlement, review
new defense arguments, materials. ,
Phone call from Attorney Sheatsley to discuss
ongoing settlement negotiations.

Continue settlement negotiations, assess
counteroffer and security for proposed
installments, further analysis regarding
available assets and possible real estate
equity, reach agreement.

Review and edit K. Ellison and S. Ellison's
Motions to Extend Answer Deadlines; multiple
communications with Attorney Sheatsley

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

regarding the same.
05/09/14 jemurphy 0022 Further communications with Attorney Sheatsley 0.30 76.50
regarding settlement offer from the Ellisons;
evaluate offer with the Trustee.
05/12/14 JHB 0022 Continued attention to open settlement, 0.30 117.00
payment, extension issues, strategies if no
resolution, and review related emails,
discovery from opposing counsel.
05/15/14 JHB 0022 Further review of open issues, settlement 0.30 117.00
: negotiations, assess defenses and devise
strategies to resolve; review related discovery
issues, opposing counsel emails.

05/15/14 jemurphy 0022 Phone call and draft correspondence regarding 0.40 102.00
settlement with the Ellisons.

05/16/14 JHB 0022 Continued negotiations with opposing counsel. 0.20 78.00

05/16/14 jemurphy 0022 Communications with Attorney Sheatsley 0.10 25.50
regarding the Ellisons’ motions.

05/16/14 goneil 0022 Review status of matters, including new docket 0.10 25.50

, entries in case.
05/19/14 JHB 0022 Continue settlement negotiations and devise 0.60 234.00

response strategies regarding dismissal and
reference withdrawal motions.
05/19/14 cbhorourk 0022 Draft stipulation of settlement with Kay 1.50 285.00
Ellison; draft motion to approve settlement,
with proposed order, motion to limit notice and
certificate of service; compile service list.
05/19/14 jemurphy 0022 Review Answers and Motions filed by the 0.40 102.00
Ellisons, and Court’s schedule for oppositions
and hearings on the same; communications with
Attorney Sheatsley regarding the motions and
pending settlement negotiations.
05/19/14 jemurphy 0022 Communications with Attorney Sheatsley 0.40 102.00
regarding settlement terms; attend to
preparation of draft settlement documents.

05/19/14 jemurphy 0022 Phone call with Trustee regarding claims 0.10 25.50
against Ellisons.

05/20/14 cbhorourk 0022 Review and revise settlement pleadings 0.60 114.00
regarding Kay Ellison.

05/20/14 jemurphy 0022 Strategy and edits to Motion to Approve 0.50 127.50
Settlement and Stipulation for the Ellisons.

05/21/14 goneil 0022 Assist with formatting and preparing 0.10 25.50
Stipulation and related pleadings.

05/29/14 JHB 0022 Review status of avoidance action and next 0.20 78.00

steps.
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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee

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Track receipt of order and deadline to file
settlement pleadings.

Review Court’s ruling on Motions to Extend
Ellisons’ Motion to Dismiss and Motion to
Withdraw the Reference; plan for filing
settlement paper work within Court's deadline.
Review pacer docket and update litigation
control sheet accordingly.

Review pacer docket and update litigation
control sheet accordingly.

Additional updates to litigation control sheet.
Additional updates to litigation control sheet.
Review status of deadline for settlement
pleadings.

Review status of deadline for settlement
pleadings.

Review status. of settlement pleadings; confirm
deadline to file.

Review status of settlement pleadings; confirm
deadline to file.

Communications with Attorney Sheatsley
regarding settlement with the Ellisons.
Continued attention to open settlement,
drafting issues.

Review temporary restraining order and proposed
settlement agreement; draft assented-to motion
to continue (I) current temporary restraining
order and (II) hearing on plaintiff’s
application for preliminary injunction with
proposed order and certificate of service;
review and revise (x2).

Attend to preparation of Motion to Extend
Temporary Restraining Order and Move
Preliminary Injunction hearing.

Strategies, emails to address injunction
extension, open settlement issues.

Additional revisions to assented-to motion to
continue current temporary restraining order
and hearing on plaintiff's application for
preliminary injunction; discuss efiling/service
of same.

Review and edit Motion to Continue Temporary
Restraining Order and continue hearing on
Preliminary Injunction for the Ellisons;

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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communications with Attorney Sheatsley
regarding the same.

Edits to and further draft Stipulation of
Settlement for the Ellisons, Agreements for
Judgments for the Ellisons and a Motion to
Approve Stipulation; communications with
Attorney Sheatsley regarding the same.

Review open settlement issues, revised
materials, related extension issues and
resolution.

Assist with efiling of settlement pleadings and
motion to continue hearing on TRO; confirm
service list and query.

Assist with efiling of settlement pleadings and
motion to continue hearing on TRO; confirm
service list and query.

Communications with Attorney Sheatsley
regarding the settlement documents and motions
to continue TRO/PI and other dates; make edits
to the same; attend to filing Motion to Approve
Settlement, Stipulation of Settlement, Motion
to Limit Notice and Motion to Continue with the
Court; review settlement documents and
certification executed by the Ellisons; attend
to arrangements for settlement payments.

Assist with filing of Stipulation.

Review status of case/update litigation control
sheet accordingly.

Draft certificate of service regarding notice
of hearing regarding settlement ; review/confirm
service list.

Draft certificate of service regarding notice
of hearing regarding settlement; review/confirm
service list.

Review settlement pleadings in light of
upcoming court-set hearing.

Review Court’s Notice of Hearing on Ellisons
settlement; attend to service of notice.
Finalize certificate of service regarding
notice of hearing regarding settlement
pleadings and review service list.

Finalize certificate of service regarding
notice of hearing regarding settlement
pleadings and review service list.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

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Review open settlement issues, strategies for
8/7 hearing.

Review Motion to Appéar Telephonically for
hearing on Ellison's settlement; review court’s
orders regarding the same.

Review status of case and update control chart
accordingly.

Review status of case and update control chart
accordingly.

Review revisions to updated control chart.
Review revisions to updated control chart.
Review Form 2 and update litigation control
chart as to settlement proceeds
received/expected.

Determine status of current MODL fees/expenses
in preparation of hearing on proposed
settlement.

Review status of adversary proceeding and next
steps.

Conference with Attorney Murphy regarding
support for settlement approval, information
for 8/7 hearing, and review underlying case
data regarding same.

Assist with preparations for settlement.
Continued preparation for 8/7 settlement
hearing.

Review Ellisons’ asset information, settlement
terms and grounds for acceptance of settlement
offer in preparation for hearing; review
overall status of Trustee’s adversary
proceedings and recovery for the estate.
Follow up regarding settlement, implications
for future settlements.

Track approval order; calendar ahead file
preparation/filing of stipulation of dismissal.
Attend hearing in Bankruptcy Court on Motion to
Approve Ellisons’ settlement.

Preparation for hearing on Motion to Approve
Ellisons’ settlement.

Attention to resolution of the balance of the
adversary proceeding.

Review memorandum regarding stipulation
approval hearing.

Review correspondence from Attorney Sheatsley

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